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                           Exhibit 7
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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 AHARON MILLER, et al.,                                :
                               Plaintiffs,             :
                                                       :    Case No. 18-cv-2192 (BMC)(PK)
        -against-                                      :
                                                       :
 ARAB BANK, PLC,                                       :
                               Defendant.              :
 NATHAN PAM, et al.,                                   :    Case No. 18-cv-4670 (BMC)(PK)
                               Plaintiffs,             :
                                                       :
        -against-                                      :
                                                       :
 ARAB BANK, PLC,                                       :
                               Defendant.              :


      DEFENDANT ARAB BANK, PLC’S RESPONSES AND OBJECTIONS TO
    PLAINTIFFS’ SECOND REQUEST FOR THE PRODUCTION OF DOCUMENTS

        Pursuant to Rules 26 and 34 of the Federal Rules of Civil Procedure, Defendant Arab Bank,

 plc (“Arab Bank”), by its undersigned counsel, hereby responds and objects to Plaintiffs’ Second

 Request for the Production of Documents dated July 22, 2019 (the “Requests”) as follows:

                       OBJECTIONS APPLICABLE TO MOST REQUESTS1

        1.      Arab Bank objects to the Requests to the extent that they seek the production of

 documents that do not specifically relate to the allegations in the “Complaints” (as defined in the

 Requests). The Requests seek documents related to bank accounts and transactions for 396

 individuals and entities, only 80 of which are mentioned in the Complaints. Of those 80 individuals

 and entities, only 7 are alleged to have committed, planned, or authorized any of the 14 attacks

 that Plaintiffs claim caused their alleged injuries (the “Incidents”). Thus Arab Bank objects to

 these Requests on the grounds that they are overly broad, outside the scope of the Complaints’


        1
            Because these objections apply to multiple Requests, for the sake of brevity, they are
 stated in full only at the outset; as applicable, they are also referenced in the responses to each
 separate Request.
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 allegations against Arab Bank, unduly burdensome, disproportionate to the needs of the case,2 and

 request the production of documents that are not relevant to the claims or defenses of any party.

        2.      Arab Bank objects to these Requests to the extent they seek disclosure of documents

 that are subject to bank confidentiality laws of the countries in which Arab Bank operates. The

 Requests seek the production of documents located outside of the United States regarding financial

 services rendered outside of the United States, particularly in Jordan, Lebanon, and the Palestinian

 Territories. As Arab Bank noted in its Answers, Arab Bank is constrained from responding to

 such requests by the bank confidentiality laws of those jurisdictions. (See Miller v. Arab Bank,

 PLC, 18-cv-2192 (BMC)(PK) (Dkt. 39 at 1-2); Pam v. Arab Bank, PLC, 18-cv-4670 (BMC)(PK)

 (Dkt. 32 at 1-2; Dkt. 33 at 1-2)). Violating those laws would expose Arab Bank to criminal

 sanctions and fines and would undermine the legally protected privacy rights of foreign persons

 who are not parties to these actions.3 As Plaintiffs and the Court are aware, Arab Bank cannot

 produce banking records without the account holders’ permission or regulatory approval. The

 Requests call for banking records for hundreds of accounts, most of which are for people or entities

 with no connection to the Incidents. It will be difficult, if not impossible, for Arab Bank to obtain

 customer consent or regulatory approval for all of the records Plaintiffs have requested. Arab Bank

 respectfully objects on the grounds that these Requests are impermissibly broad, unduly

 burdensome, and disproportionate to the needs of the cases. Fed. R. Civ. P. 26(b)(1).



        2
             Throughout these Responses, an objection that a Request is “disproportionate” means
 that it is disproportionate to the needs of the cases based on the factors set forth in Rule 26(b)(1)
 of the Federal Rules of Civil Procedure.
          3
             See Br. for the United States as Amicus Curiae, Arab Bank, PLC v. Linde, et al., No. 12-
 1485, 2014 WL 2191224, at *16-17 (S. Ct. May 23, 2014) (noting that “criminal statutes governing
 bank secrecy in a number of foreign jurisdictions prohibit disclosing the [foreign financial
 information] sought by” plaintiffs and further noting that these statutes “reflect legitimate
 sovereign interests in protecting foreign citizens’ privacy and confidence in the nations’ financial
 institutions”).


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        To make this process more practicable, Arab Bank suggests that Plaintiffs make a good

 faith effort to narrow these Requests to be proportional to the allegations in these cases.

 Attempting to request foreign regulators to waive bank confidentiality laws for the accounts of

 hundreds of customers who are not identfied in the Complaints—and thus have no connection to

 the Incidents—severely jeopardizes the success of any waiver request. Once the Court rules on

 the appropriate scope of the Requests, Arab Bank is prepared to work with Plaintiffs and the Court

 to pursue all lawful means to obtain relevant banking records that are proportional to these cases,

 including seeking customer consent and regulatory approval. Arab Bank also will work with

 Plaintiffs’ counsel and the Court to prepare appropriate Letters Rogatory under the Hague

 Convention and similar laws to obtain foreign court approval for the production of relevant and

 proportional banking records. Arab Bank previously produced in Linde v. Arab Bank, PLC, No.

 04-cv-02799 (E.D.N.Y.) (the “Linde case”) foreign bank account records after affirmatively

 obtaining the consent of the Saudi Committee in Support of the Palestinian People (the “Saudi

 Committee”) and the Lebanese Special Investigation Commission (the “LSIC”). As detailed

 below, Arab Bank is producing certain of those documents in these cases.

        3.      Arab Bank objects to the Requests to the extent they seek the production of

 documents or information protected by privileges, including but not limited to the attorney-client

 privilege, the attorney work product doctrine, and any other legally recognized obligation and/or

 rule. Arab Bank hereby claims such privileges and objects to the production of any documents

 subject thereto. Arab Bank will produce an appropriate privilege log that complies with E.D.N.Y.-

 S.D.N.Y. Local Civil Rule 26.2.

        4.      Arab Bank objects to the definitions of “Arab Bank” and “You” to the extent they

 go beyond the named Defendant, Arab Bank, plc.




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        5.      Arab Bank objects to the characterization of certain individuals and entities,

 including the vagueness of the terms used to describe them, referred to in the Requests as “Suicide

 Bombers,” “Martyrs,” terrorists, leaders, operatives, agents, zakat committees, charitable societies,

 and/or social institutions affiliated with the following entities: PIJ, PFLP, PLO, PA, Fatah, and/or

 AAMB.

       RESPONSES AND OBJECTIONS TO SPECIFIC DOCUMENT REQUESTS4

        The following Responses and Objections to specific Requests are made in addition to and

 without waiving the foregoing Objections Applicable to Most Requests (the “Initial Objections”),

 which are expressly incorporated into the responses and objections set forth below.

 DOCUMENTS CONCERNING PALESTINIAN ISLAMIC JIHAD (“PIJ”)

 REQUEST NO 1.

        All Documents concerning accounts maintained at Arab Bank by the following PIJ leaders
 and operatives:

        a.      Bisam Abd al-Rahman Ahmad Abu Akar; and
        b.      Issa Muhammad Ismai’l al-Batat.

 RESPONSE TO REQUEST NO 1:

        Arab Bank objects to Request No. 1 on the grounds that it seeks information that is overly

 broad, not relevant, and disproportionate to the claims and defenses in these cases. In particular,

 of the 2 alleged PIJ leaders and operatives for whom Plaintiffs are requesting information, only 1

 is referenced in the Complaints, and neither is alleged to have committed, planned, or authorized


        4
           In responding to these Requests, Arab Bank is producing documents by identifying Bates
 numbers of documents previously produced in the Linde case (hereinafter referred to as “Linde
 Bates Nos.”) with the understanding that the parties will: (1) adhere to the prior confidentiality
 designations for those documents under the meanings set forth in the Linde Protective Order (see
 Dkt. 85); and (2) otherwise maintain documents pursuant to the terms set forth in the Protective
 Order entered by this Court in Pam (see Dkt. 43) and Miller (see Dkt. 50). To the extent that this
 is contradictory to the Instructions for these Requests, including Instruction Nos. 3, 5, 7, 8, and 13,
 Arab Bank objects to those instructions as overly burdensome.


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 any of the Incidents. See Initial Objections, No. 1. Arab Bank further objects to Request No. 1 to

 the extent it seeks production of banking records located in foreign jurisdictions that are subject to

 bank confidentiality laws prohibiting banks from disclosing such records under threat of civil and

 criminal penalties absent customer consent or regulatory approval. See Initial Objections, No. 2.

 Subject to and without waiving the foregoing, Arab Bank will conduct a reasonable search for, and

 produce on a rolling basis, non-privileged documents responsive to this Request that relate to the

 individual identified in the Complaints.

 REQUEST NO 2:

        All Documents concerning accounts at Arab Bank or funds transfers by Arab Bank
 involving the following PIJ leaders, operatives and agents:

        a.      Ziyad al-Nakhala;
        b.      Sheikh Ramadan Abdalla Shalah;
        c.      Sheikh Abd al-Aziz Awda;
        d.      Fathi Shiqaqi;
        e.      Sami al-Arian;
        f.      Bashir Musa Muhammad Nafi;
        g.      Muhammad Ayub Muhammad Sidr;
        h.      Luay Jihad Fathallah al-Sa’di;
        i.      Hanadi Taysir Abd al-Malek Jaradat;
        j.      Muhammad Fares Bashir Jaradat;
        k.      Khaled Hussein Jaradat;
        l.      Muhammad Abd al-Aziz Ghanem;
        m.      Mustafa Tawfiq Muhammad Awd;
        n.      Muhammad Saleh Muhammad Sayfi;
        o.      Shafiq Ali Suliman Radaida;
        p.      Ataf Dawud Hasan Aliyan;
        q.      Nihaya Khaled Mahmud al-Khatib;
        r.      Tamer Khuweir;
        s.      Ghasan al-Tirmasi;
        t.      Muhammad Dahduh;
        u.      Mahmud al-Majzub;
        v.      Husam Jaradat;
        w.      Ahmad Abd al-Rahman Abu Hasira;
        x.      Mustafa Tawfiq Zaydan;
        y.      Salah Abu Hasnin;
        z.      Mahmud al-Hindi;
        aa.     Muqlid Hamid;
        bb.     Iyad Ahmad Yusuf Sawalha;


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        cc.     Muhammad Said al-Hindi;
        dd.     Ali Suliman Said al-Sa’adi;
        ee.     Ahmad al-Mudalal;
        ff.     Anwar Mahmud Ahmad Hamran;
        gg.     Muhammad Saqr Ragheb al-Zatme;
        hh.     Murad Abd al-Fatah Abu al-Asal;
        ii.     Nu’man Taher Sadeq Tahaina;
        jj.     Bassam Sa’adi;
        kk.     Sheikh Sharif Tahayna;
        ll.     Usri Fayad;
        mm.     Dhiyab Abd al-Rahim Abd al-Rahman al-Shweiki;
        nn.     Akef Fayez Nazal;
        oo.     Ali Suliman al-Safuri;
        pp.     Iyad Ahmad Yusuf Sawalha;
        qq.     Riyad Muhammad Ali Badir;
        rr.     Sameh Samir Muhammad Shubki;
        ss.     Bahaa Abu Al Ata;
        tt.     Tareq Qa’adan;
        uu.     Shahdi Mhanna;
        vv.     Ali Zafour;
        ww.     Raed Jundiya;
        xx.     Khaled al-Batsh; and
        yy.     Nasser Ahmad Yussuf Shawkah.

 RESPONSE TO REQUEST NO 2:

        Arab Bank objects to Request No. 2 on the grounds that it seeks information that is overly

 broad, not relevant, and disproportionate to the claims and defenses in these cases. In particular,

 of the 51 alleged PIJ leaders, operatives, and agents for whom Plaintiffs are requesting information,

 only 4 are referenced in the Complaints and only 2 are alleged to have committed, planned, or

 authorized any of the Incidents. See Initial Objections, No. 1. Arab Bank further objects to

 Request No. 2 on the grounds that it is vague, ambiguous, unduly burdensome, and/or seeks

 information outside of Arab Bank’s knowledge because it calls for all documents concerning: (1)

 Arab Bank accounts “involving” the listed individuals without identifying the persons who

 allegedly opened or maintained the accounts; and (2) “funds transfers by Arab Bank involving”

 the listed individuals without identifying who initiated and/or received the funds transfers. Arab

 Bank further objects to Request No. 2 to the extent it seeks production of banking records located


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 in foreign jurisdictions that are subject to bank confidentiality laws prohibiting banks from

 disclosing such records under threat of civil and criminal penalties absent customer consent or

 regulatory approval. See Initial Objections, No. 2. Subject to and without waiving the foregoing,

 Arab Bank will conduct a reasonable search for, and produce on a rolling basis, non-privileged

 documents responsive to this Request that relate to accounts opened or maintained at Arab Bank,

 or funds transfers initiated and/or received, by the individuals identified in the Complaints.

 REQUEST NO 3:

         All Documents concerning accounts maintained at Arab Bank by the following PIJ zakat
 committees, charitable societies and social institutions or transfers involving those committees,
 societies and institutions:

        a.      Al-Ihsan Charitable Society in Bethlehem;
        b.      Al-Ihsan Charitable Society in Gaza;
        c.      Al-Ihsan Charitable Society in Jenin;
        d.      Al-Ihsan Charitable Society in Tulkarem;
        e.      Dar al-Huda Society;
        f.      Al-Jama’a al-Islamiya a/k/a al-Rabita al-Islamiya;
        g.      Banners of Charity a/k/a Bayareq al-Ataa Society;
        h.      Islamic An-Naqqa Society for Women Bethlehem a/k/a Islamic Women Charitable
                Society for Purity; and
        i.      Cultural Forum of Palestinian Islamic Jihad Women.

 RESPONSE TO REQUEST NO 3:

        Arab Bank objects to Request No. 3 on the grounds that it seeks information that is overly

 broad, not relevant, and disproportionate to the claims and defenses in these cases. In particular,

 of the 9 organizations for which Plaintiffs are requesting information, only 8 are referenced in the

 Complaints, and none are alleged to have committed, planned, or authorized any of the Incidents.

 See Initial Objections, No. 1. Arab Bank also objects to Request No. 3 on the grounds that it is

 vague, ambiguous, unduly burdensome, and/or seeks information outside of Arab Bank’s

 knowledge because it calls for all documents concerning “transfers involving” the listed

 organizations without identifying the individuals who initiated and/or received the transfers. Arab



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 Bank further objects to Request No. 3 to the extent it seeks production of banking records located

 in foreign jurisdictions that are subject to bank confidentiality laws prohibiting banks from

 disclosing such records under threat of civil and criminal penalties absent customer consent or

 regulatory approval. See Initial Objections, No. 2. Subject to and without waiving the foregoing,

 Arab Bank will conduct a reasonable search for, and produce on a rolling basis, non-privileged

 documents responsive to this Request that relate to accounts opened or maintained at Arab Bank,

 or transfers initiated and/or received, by the organizations identified in the Complaints.

 REQUEST NO 4:

         All Documents concerning transactions processed by Arab Bank on behalf of the Saudi
 Committee for the benefit of the families of the following PIJ Suicide Bombers, including, but not
 limited to, transaction records, account statements, account opening documentation,
 communications concerning the transactions and/or recipients, receipts issued by Arab Bank to
 account holders and/or payees, and death certificates, photographic identification and/or
 certificates of martyrdom for the individuals that qualified the account holder or payee to receive
 payment:

        1.      Faysal Mustafa Husein Abu Sariya (see, e.g., ABPLC026392);
        2.      Family of Mustafa Faysal Mustafa Abu Sariya;
        3.      Hilwa Muhammad Abd al-Fatah Rashed (see, e.g., ABPLC026327);
        4.      Family of Abd al-Fatah Muhammad Musleh Rashed;
        5.      Ibrahim Mustafa Muhammad Abu Shaduf (see, e.g., ABPLC024038);
        6.      Family of Nidal Ibrahim Mustafa Abu Shaduf;
        7.      Muhammad Yusuf Nimer Abu Sayfin (see, e.g., ABPLC026322);
        8.      Family of Nimer Muhammad Yusuf Abu Sayfin;
        9.      Ishaq Abdalla Ibrahim Nabtiti (see, e.g., ABPLC030742);
        10.     Family of Akram Ishaq Abdalla al-Nabtiti;
        11.     Hilal ‘Abd Al-Sattar Ali Sabah (see, e.g., ABPLC023866);
        12.     Family of Alaa’ Hilal Abd al-Satar Sabah;
        13.     Muhammad Ali Nayef Sawitat (see, e.g., ABPLC030873);
        14.     Family of Yusuf Muhammad Ali Sawitat;
        15.     Taysir Shehada Rashid Jabali (see, e.g., ABPLC026335);
        16.     Family of Nidal Taysir Shehada Jabali;
        17.     Fatima Isma’il Ahmad Sa’ad (see, e.g., ABPLC030811);
        18.     Family of Dawud Ali Ahmad Sa’ad Abu Sawi;
        19.     Faraj al-Ara’ir (see, e.g., ABPLC010575);
        20.     Family of Nabil Faraj al-Ara’ir;
        21.     Kawthar Hussein Khalil al-Shaweki (see, e.g., ABPLC026278);
        22.     Family of Hatem Yaqin Ayesh Al-Sheweikeh;
        23.     Abd al-Mun’im Ahmad Midraj Daraghima (see, e.g., ABPLC026268);


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        24.     Family of Ahmad Abd al-Mun’im Daraghima;
        25.     Ghada Ibrahim Sa’id Ayesh (see, e.g., ABPLC030778);
        26.     Family of Yusuf Muhammad Mahmud Ayesh;
        27.     Salim Najib Salim Abu Diyak (see, e.g., ABPLC030840);
        28.     Family of Ra’fat Salim Abu Diyak;
        29.     Mahmud Baker Saleh Naser (see, e.g., ABPLC023953);
        30.     Family of Muhammad Mahmud Baker Naser;
        31.     Jamil Husein Ya’cob Faraj (see, e.g., ABPLC030738);
        32.     Family of Muhammad Jamil Hussein Faraj;
        33.     Malika Tawfiq al-Qader Tahayna (see, e.g., ABPLC030823); and
        34.     Family of Abd al-Karim Issa Khalil Tahayna.

 RESPONSE TO REQUEST NO 4:

        Arab Bank objects to Request No. 4 on the grounds that it seeks information that is overly

 broad, not relevant, and disproportionate to the claims and defenses in these cases. In particular,

 of the 34 alleged “PIJ Suicide Bombers” for whom Plaintiffs are requesting information, only 1 is

 referenced in the Complaints and none are alleged to have committed, planned, or authorized any

 of the Incidents. See Initial Objections, No. 1. Additionally, the Request calls for all banking

 records for the intended beneficiaries of these transactions, but the Complaints do not allege such

 records are related to any of the Incidents. Arab Bank further objects to Request No. 4 to the extent

 it seeks production of banking records located in foreign jurisdictions that are subject to bank

 confidentiality laws prohibiting banks from disclosing such records under threat of civil and

 criminal penalties absent customer consent or regulatory approval. See Initial Objections, No. 2.

 Subject to and without waiving the foregoing, Arab Bank is producing the Linde Bates Nos. set

 forth in Exhibit 1, which include approximately 180,000 documents and represent all of the Saudi

 Committee documents that Arab Bank has in its possession and produced in Linde after

 affirmatively obtaining the Saudi Committee’s consent.

 REQUEST NO 5:

         All Documents concerning transactions processed by Arab Bank on behalf of the Saudi
 Committee for the benefit of families of the following PIJ “Martyrs,” including, but not limited to,
 transaction records, account statements, account opening documentation, communications


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 concerning the transactions and/or recipients, receipts issued by Arab Bank to account holders
 and/or payees, and death certificates, photographic identification and/or certificates of martyrdom
 for the individuals that qualified the account holder or payee to receive payment:

        1.      Abd al-Rahman As’ad Naser Daqa (see, e.g., ABPLC030796);
        2.      Mahdiya Mahmud Abd al-Naser Daqa (see, e.g., ABPLC019161, ABPLC12281);
        3.      Family of As’ad Abd al-Rahman As’ad Naser Daqa;
        4.      Hilwa Muhammad Abd al-Fatah Rashed (see, e.g., ABPLC026327);
        5.      Family of Abd al-Fatah Muhammad Musleh Rashed;
        6.      Samah Jawdat Salim Abu al-Wafa (see, e.g., ABPLC030976);
        7.      Family of Mahmud “Nursi” Tawalbeh;
        8.      Rasmi Sadeq Hamad Basharat (see, e.g., ABPLC024039);
        9.      Family of Walid Rasmi Sadeq Basharat;
        10.     Muhammad Nayef Fayez Hardan (see, e.g., ABPLC023856);
        11.     Family of Iyad Muhammad Nayef Hardan;
        12.     Mahmud ‘Abd Al-Rehim Nimer (see, e.g., ABPLC023855);
        13.     Family of Ashraf Mahmud abd al-Rahim Nimer Bardawil;
        14.     Abd al-Rahman Hasan abd al-Qader al-Muqid (see, e.g., ABPLC026261);
        15.     Family of Mahmud abd al-Rahman al-Muqid;
        16.     Abd Muhammad Zbeidi (see, e.g., ABPLC030904);
        17.     Family of Taha Muhammad Abd al-Rahman Zbeidi;
        18.     Ahmad Muhammad Suliman Abu Khader (see, e.g., ABPLC026337);
        19.     Family of Muhammad Ahmad Abu Khader Basharat;
        20.     Suzan Midhat Fayez Abd al-Al (see, e.g., ABPLC021691);
        21.     Family of Muhammad Atwa Abd al-Al;
        22.     Rana Ibrahim Ali Abu Musa (see, e.g., ABPLC026417);
        23.     Family of Munir Mustafa Ibrahim Abu Mussa;
        24.     Kifaya Ahmad Sadiq Asaf (see, e.g., ABPLC026396);
        25.     Family of Wa’el Mutlaq Muhammad Asaf;
        26.     Muhammad Hashem Khalil al-Natsha (see, e.g., ABPLC030884);
        27.     Family of Nabil Muhammad Hashem al-Natsha;
        28.     Mahmud Abd Allah Hamad Makhluf (see, e.g., ABPLC030882);
        29.     Family of Mutasem Mahmud Abdallah Makhluf;
        30.     Subhi Abd al-Karim Abd al-Fatah Balbisi (see, e.g., ABPLC030735);
        31.     Family of Maher al-Balbisi;
        32.     Samiya Kamal Nazmi Abd al-Ghani (see, e.g., ABPLC030645);
        33.     Family of Anwar Awni Abd al-Ghani;
        34.     Ahmad Tawfiq Muhammad Arida (see, e.g., ABPLC030765); and
        35.     Family of Sufyan Arida.

 RESPONSE TO REQUEST NO 5:

        Arab Bank objects to Request No. 5 on the grounds that it seeks information that is overly

 broad, not relevant, and disproportionate to the claims and defenses in these cases. In particular,

 of the 35 alleged “PIJ Martyrs” for whom Plaintiffs are requesting information, none are referenced


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 in the Complaints, much less alleged to have committed, planned, or authorized any of the

 Incidents. See Initial Objections, No. 1. Additionally, the Request calls for all banking records

 for the intended beneficiaries of these transactions, but the Complaints do not allege such records

 are related to any of the Incidents. Arab Bank further objects to Request No. 5 to the extent it

 seeks production of banking records located in foreign jurisdictions that are subject to bank

 confidentiality laws prohibiting banks from disclosing such records under threat of civil and

 criminal penalties absent customer consent or regulatory approval. See Initial Objections, No. 2.

 Subject to and without waiving the foregoing, Arab Bank is producing the Linde Bates Nos. set

 forth in Exhibit 1, which include approximately 180,000 documents and represent all of the Saudi

 Committee documents that Arab Bank has in its possession and produced in Linde after

 affirmatively obtaining the Saudi Committee’s consent.

 REQUEST NO 6:

         All Documents concerning transactions processed by Arab Bank on behalf of the Saudi
 Committee for the benefit of the families of the following PIJ terrorists who were incarcerated in
 Israeli prisons, including, but not limited to, transaction records, account statements, account
 opening documentation, communications concerning the transactions and/or recipients, receipts
 issued by Arab Bank to account holders and/or payees, and death certificates, photographic
 identification and/or proof of incarceration for the individuals that qualified the account holder or
 payee to receive payment:

        1.      Raqiya Muhammad Hasan Basharat (see, e.g., ABPLC019165);
        2.      Najwi Hamdan Bakir Abu Hasira;
        3.      Ikhlas Abd al-Rahim Abd al-Rahman al-Shuweiki (see, e.g., ABPLC019107);
        4.      Mahmud Qasem Arafat al-Razem (see, e.g., ABPLC012253);
        5.      Hanu Adel Ibrahim Jaradat (see, e.g., ABPLC19176);
        6.      Hilwa Suliman Saleh al-Batat (see, e.g., ABPLC019220);
        7.      Badriya Muhammad Nimer Mardawi (see, e.g., ABPLC018971);
        8.      Muna Abd Rabo Muhammad Abu al-Jadyan (see, e.g., ABPLC011055);
        9.      Abd al-Ra’uf Taher Tahaina (see, e.g., ABPLC019260);
        10.     Jamila Safi Muhammad Safi (see, e.g., ABPLC019018);
        11.     al-Maza Ramadan Mahmud al-Husni (see, e.g., ABPLC011343);
        12.     Ayub Muhammad Dawud Sidr (see, e.g., ABPLC012667);
        13.     Nasrin Salem Mahmud Jaradat (see, e.g., ABPLC019075);
        14.     Subhi Muhammad Abd el-Ghani Abu Tabikh (see, e.g., ABPLC012279);
        15.     Ya’qub Muhammad Abu Rumi (see, e.g., ABPLC012680);


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        16.     Amina Amani Mutlaq Asaf (see, e.g., ABPLC019149);
        17.     Ibrahim Awd Allah Ahmad al-Hih (see, e.g., ABPLC018953); and
        18.     Malkiya Tawfiq Muhammad Arida (see, e.g., ABPLC019014).

 RESPONSE TO REQUEST NO 6:

        Arab Bank objects to Request No. 6 on the grounds that it seeks information that is overly

 broad, not relevant, and disproportionate to the claims and defenses in these cases. In particular,

 of the 18 alleged “PIJ terrorists” for whom Plaintiffs are requesting information, only 2 are

 referenced in the Complaints and none are alleged to have committed, planned, or authorized any

 of the Incidents. See Initial Objections, No. 1. Additionally, the Request calls for all banking

 records for the intended beneficiaries of these transactions, but the Complaints do not allege such

 records are related to any of the Incidents. Arab Bank further objects to Request No. 6 to the extent

 it seeks production of banking records located in foreign jurisdictions that are subject to bank

 confidentiality laws prohibiting banks from disclosing such records under threat of civil and

 criminal penalties absent customer consent or regulatory approval. See Initial Objections, No. 2.

 Subject to and without waiving the foregoing, Arab Bank is producing the Linde Bates Nos. set

 forth in Exhibit 1, which include approximately 180,000 documents and represent all of the Saudi

 Committee documents that Arab Bank has in its possession and produced in Linde after

 affirmatively obtaining the Saudi Committee’s consent.

 REQUEST NO 7:

         All Documents concerning transactions processed by Arab Bank on behalf of the Saudi
 Committee for the benefit of the following PIJ operatives, including, but not limited to, transaction
 records, account statements, account opening documentation, communications concerning the
 transactions and/or recipients, receipts issued by Arab Bank to the PIJ operatives, and death
 certificates, photographic identification, certificates of martyrdom and/or proof of incarceration
 for the individuals that qualified PIJ operatives to receive payment:

        1.      Amar Ahed Wadi’ al-Shubki (see, e.g., ABPLC016945);
        2.      Hazem Yaser Irhim (see, e.g., ABPLC013018);
        3.      Jamal Hasan Muhammad Suman (see, e.g., ABPLC018961);
        4.      Khaled al-Zaq (see, e.g., ABPLC013031);


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        5.      Mahmud abd al-Rahman al-Muqid (see, e.g., ABPLC013472);
        6.      Abd al-Rahman Hasan Abd al-Qader al-Muqid (see, e.g., ABPLC026261);
        7.      Muhammad Abd al-Aziz al-Batran (see, e.g., ABPLC019209);
        8.      Muhammad Khalil Abd al-Latif al-Sheikh Khalil (see, e.g., ABPLC023849);
        9.      Fahed Abdallah Muhammad Sawalha (see, e.g., ABPLC017138); and
        10.     Khaled Khalil Hamed (see, e.g., ABPLC018460).

 RESPONSE TO REQUEST NO 7:

        Arab Bank objects to Request No. 7 on the grounds that it seeks information that is overly

 broad, not relevant, and disproportionate to the claims and defenses in these cases. In particular,

 of the 10 alleged “PIJ operatives” for whom Plaintiffs are requesting information, none are

 referenced in the Complaints, much less alleged to have committed, planned, or authorized any of

 the Incidents. See Initial Objections, No. 1. Additionally, the Request calls for all banking records

 for the intended beneficiaries of these transactions, but the Complaints do not allege such records

 are related to any of the Incidents. Arab Bank further objects to Request No. 7 to the extent it

 seeks production of banking records located in foreign jurisdictions that are subject to bank

 confidentiality laws prohibiting banks from disclosing such records under threat of civil and

 criminal penalties absent customer consent or regulatory approval. See Initial Objections, No. 2.

 Subject to and without waiving the foregoing, Arab Bank is producing the Linde Bates Nos. set

 forth in Exhibit 1, which include approximately 180,000 documents and represent all of the Saudi

 Committee documents that Arab Bank has in its possession and produced in Linde after

 affirmatively obtaining the Saudi Committee’s consent.

 DOCUMENTS CONCERNING POPULAR FRONT FOR THE LIBERATION OF
 PALESTINE (“PFLP”)

 REQUEST NO 8:

         All Documents concerning accounts maintained at Arab Bank by the following PFLP
 leaders, operatives and agents:

        a.      Khader Taleb Khader Dhiyab.




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 RESPONSE TO REQUEST NO 8:

        Arab Bank objects to Request No. 8 on the grounds that it seeks information that is overly

 broad, not relevant, and disproportionate to the claims and defenses in these cases. In particular,

 the listed individual is not referenced in the Complaints, much less alleged to have committed,

 planned, or authorized any of the Incidents. See Initial Objections, No. 1. Arab Bank further

 objects to Request No. 8 to the extent it seeks production of banking records located in foreign

 jurisdictions that are subject to bank confidentiality laws prohibiting banks from disclosing such

 records under threat of civil and criminal penalties absent customer consent or regulatory approval.

 See Initial Objections, No. 2.

 REQUEST NO 9:

        All Documents concerning accounts at Arab Bank or funds transfers by Arab Bank
 involving the following PFLP leaders and operatives:

        a.      George Habash;
        b.      Mustafa al-Zibri AKA Abu Ali Mustafa;
        c.      Ahmad Sa’adat a/k/a Ahmad Sa’dat Abd al-Rasul;
        d.      Abd al-Rahim Maluh;
        e.      Maryam Abu Diqa;
        f.      Muhammad Shauqi Sa’id Nazal;
        g.      Nureddin Adnan Sa’id Daoud;
        h.      Jamal Hindi Zayed;
        i.      Jamil Mizher;
        j.      Ra’fat Ali Muhammad al-Aruqi;
        k.      Shaher Ali Mahmoud al-Rai;
        l.      Maher Ali Mahmoud al-Rai;
        m.      Ali Atiya Jaradat;
        n.      Amer Muhammad Musa Jafal;
        o.      Ahmad Abu al-Sa’ud Abd al-Razaq Hanani;
        p.      Yaman Tayeb Ali Faraj;
        q.      Ra’ed Musa Ibrahim Nazal;
        r.      Adnan Muhammad Ata Maragha;
        s.      Othman Muhammad Ata Maragha;
        t.      Handuma Rashed Ibrahim Wishah;
        u.      Kamil Sa’id Abu Hanish;
        v.      Basel Asmar;
        w.      Ahed Abu Ghalma; and
        x.      Ayman al-Hur.


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 RESPONSE TO REQUEST NO 9:

        Arab Bank objects to Request No. 9 on the grounds that it seeks information that is overly

 broad, not relevant, and disproportionate to the claims and defenses in these cases. In particular,

 of the 24 alleged PFLP leaders and operatives for whom Plaintiffs are requesting information, only

 3 are referenced in the Complaints and none are alleged to have committed, planned, or authorized

 any of the Incidents. See Initial Objections, No. 1. Arab Bank further objects to Request No. 9 on

 the grounds that it is vague, ambiguous, unduly burdensome, and/or seeks information outside of

 Arab Bank’s knowledge because it calls for all documents concerning: (1) Arab Bank accounts

 “involving” the listed individuals without identifying the persons who allegedly opened or

 maintained the accounts; and (2) “funds transfers by Arab Bank involving” the listed individuals

 without identifying who initiated and/or received the funds transfers. Arab Bank further objects

 to Request No. 9 to the extent it seeks production of banking records located in foreign jurisdictions

 that are subject to bank confidentiality laws prohibiting banks from disclosing such records under

 threat of civil and criminal penalties absent customer consent or regulatory approval. See Initial

 Objections, No. 2. Subject to and without waiving the foregoing, Arab Bank will conduct a

 reasonable search for, and produce on a rolling basis, non-privileged documents responsive to this

 Request that relate to accounts opened or maintained at Arab Bank, or funds transfers initiated

 and/or received, by the individuals identified in the Complaints.

 REQUEST NO 10:

         All Documents concerning accounts maintained at Arab Bank by the following PFLP
 social institutions or transfers involving those institutions:

        a.      Al-Karmel Cultural and Social Development Association;
        b.      Health Work Committees a/k/a Union of Health Work Committees;
        c.      Union of Agricultural Work Committees;
        d.      Progressive Labor Front; and
        e.      Union of Palestinian Women’s Committees.



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 RESPONSE TO REQUEST NO 10:

        Arab Bank objects to Request No. 10 on the grounds that it seeks information that is overly

 broad, not relevant, and disproportionate to the claims and defenses in these cases. In particular,

 of the 5 alleged PFLP social institutions for which Plaintiffs are requesting information, only 1 is

 referenced in the Complaints and none are alleged to have committed, planned, or authorized any

 of the Incidents. See Initial Objections, No. 1. Arab Bank also objects to Request No. 10 on the

 grounds that it is vague, ambiguous, unduly burdensome, and/or seeks information outside of Arab

 Bank’s knowledge because it calls for all documents concerning “transfers involving” the listed

 organizations without identifying who initiated and/or received the funds transfers. Arab Bank

 further objects to Request No. 10 to the extent it seeks production of banking records located in

 foreign jurisdictions that are subject to bank confidentiality laws prohibiting banks from disclosing

 such records under threat of civil and criminal penalties absent customer consent or regulatory

 approval. See Initial Objections, No. 2. Subject to and without waiving the foregoing, Arab Bank

 will conduct a reasonable search for, and produce on a rolling basis, non-privileged documents

 responsive to this Request that relate to accounts opened or maintained at Arab Bank, or transfers

 initiated and/or received, by the organization identified in the Complaints.

 REQUEST NO 11:

         All Documents concerning transactions processed by Arab Bank on behalf of the Saudi
 Committee for the benefit of the families of the following PFLP Suicide Bombers, including, but
 not limited to, transaction records, account statements, account opening documentation,
 communications concerning the transactions and/or recipients, receipts issued by Arab Bank to
 account holders and/or payees, and death certificates, photographic identification and/or
 certificates of martyrdom for the individuals that qualified the account holder or payee to receive
 payment:

        1.      Muhammad Sidqi Hasan Nasar (see, e.g., ABPLC030853);
        2.      Family of Shadi Muhammad Sidqi Nasar;
        3.      Khader Muhammad Abu Sariya (see, e.g., ABPLC028693);
        4.      Family of Fu’ad Khader Abu Sariya;
        5.      Yusuf Muhammad Salameh al-Sa’idani (see, e.g., ABPLC030608);


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        6.      Family of Isma’il Yusuf al-Sa’idani;
        7.      Ahed Mahmud Abdalla Abd el-Hafez (see, e.g., ABPLC030698); and
        8.      Family of Sadeq Ahed Abd el-Hafez.

 RESPONSE TO REQUEST NO 11:

        Arab Bank objects to Request No. 11 on the grounds that it seeks information that is overly

 broad, not relevant, and disproportionate to the claims and defenses in these cases. In particular,

 of the 8 alleged “PFLP Suicide Bombers” for whom Plaintiffs are requesting information, only 2

 are referenced in the Complaints and none are alleged to have committed, planned, or authorized

 any of the Incidents. See Initial Objections, No. 1. Additionally, the Request calls for all banking

 records for the intended beneficiaries of these transactions, but the Complaints do not allege such

 records are related to any of the Incidents. Arab Bank further objects to Request No. 11 to the

 extent it seeks production of banking records located in foreign jurisdictions that are subject to

 bank confidentiality laws prohibiting banks from disclosing such records under threat of civil and

 criminal penalties absent customer consent or regulatory approval. See Initial Objections, No. 2.

 Subject to and without waiving the foregoing, Arab Bank is producing the Linde Bates Nos. set

 forth in Exhibit 1, which include approximately 180,000 documents and represent all of the Saudi

 Committee documents that Arab Bank has in its possession and produced in Linde after

 affirmatively obtaining the Saudi Committee’s consent.

 REQUEST NO 12:

         All Documents concerning transactions processed by Arab Bank on behalf of the Saudi
 Committee for the benefit of families of the following PFLP “Martyrs,” including, but not limited
 to, transaction records, account statements, account opening documentation, communications
 concerning the transactions and/or recipients, receipts issued by Arab Bank to account holders
 and/or payees, and death certificates, photographic identification and/or certificates of martyrdom
 for the individuals that qualified the account holder or payee to receive payment:

        1.      Ahlam Nayef Al-Jalad (see, e.g., ABPLC03065);
        2.      Family of Ayman Muhammad Fayeq Jalad;
        3.      Family of the Martyr Ali Sayel Muhammad Swidan (see, e.g., ABPLC01167);
        4.      Muhammad Mahmud ‘Abd Al-Qader Harb (see, e.g., ABPLC030836);


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        5.      Family of Khalil Muhammad Mahmud al-Harb;
        6.      Abd Al-Magid Najib Naji Daghlas (see, e.g., ABPLC026318);
        7.      Family of Mutaz Abd al-Majid Najib Daghlas;
        8.      Mahmud Dhib As’ad Subh (see, e.g., ABPLC026357); and
        9.      Family of Umar Mahmud Dhib Subh.

 RESPONSE TO REQUEST NO 12:

        Arab Bank objects to Request No. 12 on the grounds that it seeks information that is overly

 broad, not relevant, and disproportionate to the claims and defenses in these cases. In particular,

 of the 9 alleged “PIJ Martyrs” for whom Plaintiffs are requesting information, none are referenced

 in the Complaints, much less alleged to have committed, planned, or authorized any of the

 Incidents. See Initial Objections, No. 1. Additionally, the Request calls for all banking records

 for the intended beneficiaries of these transactions, but the Complaints do not allege such records

 are related to any of the Incidents. Arab Bank further objects to Request No. 12 to the extent it

 seeks production of banking records located in foreign jurisdictions that are subject to bank

 confidentiality laws prohibiting banks from disclosing such records under threat of civil and

 criminal penalties absent customer consent or regulatory approval. See Initial Objections, No. 2.

 Subject to and without waiving the foregoing, Arab Bank is producing the Linde Bates Nos. set

 forth in Exhibit 1, which include approximately 180,000 documents and represent all of the Saudi

 Committee documents that Arab Bank has in its possession and produced in Linde after

 affirmatively obtaining the Saudi Committee’s consent.

 REQUEST NO 13:

         All Documents concerning transactions processed by Arab Bank on behalf of the Saudi
 Committee for the benefit of the families of the following PFLP terrorists who were incarcerated
 in Israeli prisons, including, but not limited to, transaction records, account statements, account
 opening documentation, communications concerning the transactions and/or recipients, receipts
 issued by Arab Bank to account holders and/or payees, and death certificates, photographic
 identification and/or proof of incarceration for the individuals that qualified the account holder or
 payee to receive payment:

        1.      Farida Ali Daqa (see, e.g., ABPLC011745);


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        2.      Watfa Abd al-Fatah Muhammad Hanani (see, e.g., ABPLC011796);
        3.      Watfa Ata Jaradat (see, e.g., ABPLC019217);
        4.      Muhammad Musa Mahmud Jafal (see, e.g., ABPLC012325);
        5.      Jamila Ibrahim Zayed (see, e.g., ABPLC012033);
        6.      Zakiya Abd al-Rahman Tarkhan (see, e.g., ABPLC011084);
        7.      Manahel Ali Ibrahim Shuqayrat (see, e.g., ABPLC012318);
        8.      Awad Yusuf Mustafa Awad (see, e.g., ABPLC011098);
        9.      Hanan Yusuf Musa Abu Ghalmi (see, e.g., ABPLC019024);
        10.     Yusra Farid Rashid Mahrum (see, e.g., ABPLC012294);
        11.     Umar Muhammad Nimer Abu Rashed (see, e.g., ABPLC019659);
        12.     Hikmat Mustafa Hasan al-Aruqi (see, e.g., ABPLC011332); and
        13.     Sabiha Umar Yusuf al-Far (see, e.g., ABPLC011130).

 RESPONSE TO REQUEST NO 13:

        Arab Bank objects to Request No. 13 on the grounds that it seeks information that is overly

 broad, not relevant, and disproportionate to the claims and defenses in these cases. In particular,

 of the 13 alleged “PFLP terrorists” for whom Plaintiffs are requesting information, none are

 referenced in the Complaints, much less alleged to have committed, planned, or authorized any of

 the Incidents. See Initial Objections, No. 1. Additionally, the Request calls for all banking records

 for the intended beneficiaries of these transactions, but the Complaints do not allege such records

 are related to any of the Incidents. Arab Bank further objects to Request No. 13 to the extent it

 seeks production of banking records located in foreign jurisdictions that are subject to bank

 confidentiality laws prohibiting banks from disclosing such records under threat of civil and

 criminal penalties absent customer consent or regulatory approval. See Initial Objections, No. 2.

 Subject to and without waiving the foregoing, Arab Bank is producing the Linde Bates Nos. set

 forth in Exhibit 1, which include approximately 180,000 documents and represent all of the Saudi

 Committee documents that Arab Bank has in its possession and produced in Linde after

 affirmatively obtaining the Saudi Committee’s consent.

 REQUEST NO 14:

      All Documents concerning transactions processed by Arab Bank on behalf of the Saudi
 Committee for the benefit of the following PFLP operatives, including, but not limited to,


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 transaction records, account statements, account opening documentation, communications
 concerning the transactions and/or recipients, receipts issued by Arab Bank to the PFLP operatives,
 and death certificates, photographic identification, certificates of martyrdom and/or proof of
 incarceration for the individuals that qualified PFLP operatives to receive payment:

        1.      Abd al-Rahman Nayef Yusuf al-Salibi (see, e.g., ABPLC019465);
        2.      Ali Muhammad Abd al-Hadi Sayam (see, e.g., ABPLC019553);
        3.      Ali Saleh Ibrahim Darwish (see, e.g., ABPLC019481);
        4.      Dhib Uthman Ali al-Najar (see, e.g., ABPLC019394);
        5.      Fawzi Talab Nasar al-Wahidi (see, e.g., ABPLC019582);
        6.      Hasan Mahmud Hasan Labad (see, e.g., ABPLC019373);
        7.      Khaled Abd al-Rahman Muhammad Matar (see, e.g., ABPLC019456);
        8.      Imad Saleh Husein Abu Haya (see, e.g., ABPLC019556);
        9.      Isa Mahmud Jaber al-Ghul (see, e.g., ABPLC019535);
        10.     Salah Abd Rabo Muhammad Abu al-Jadyan (see, e.g., ABPLC19458);
        11.     Nidal Muhammad Awda Salameh (see, e.g., ABPLC019649);
        12.     Ramadan Atiya Ibrhaim Abu Qamar (see, e.g., ABPLC019372);
        13.     Rashid Muhammad Rashid al-Sidawi (see, e.g., ABPLC019371);
        14.     Rashid Saleh Muhammad al-Mabhuh (see, e.g., ABPLC019370);
        15.     Riyad Saleh Jaber al-Ghul (see, e.g., ABPLC019376);
        16.     Muhammad Ibrahim Rajab Jarwan (see, e.g., ABPLC019600); and
        17.     Muhammad Ma’ali Ubayd Abu Samra (see, e.g., ABPLC019568).

 RESPONSE TO REQUEST NO 14:

        Arab Bank objects to Request No. 14 on the grounds that it seeks information that is overly

 broad, not relevant, and disproportionate to the claims and defenses in these cases. In particular,

 of the 17 alleged “PFLP operatives” for whom Plaintiffs are requesting information, only 14 are

 referenced in the Complaints and none are alleged to have committed, planned, or authorized any

 of the Incidents. See Initial Objections, No. 1. Additionally, the Request calls for all banking

 records for the intended beneficiaries of these transactions, but the Complaints do not allege such

 records are related to any of the Incidents. Arab Bank further objects to Request No. 14 to the

 extent it seeks production of banking records located in foreign jurisdictions that are subject to

 bank confidentiality laws prohibiting banks from disclosing such records under threat of civil and

 criminal penalties absent customer consent or regulatory approval. See Initial Objections, No. 2.

 Subject to and without waiving the foregoing, Arab Bank is producing the Linde Bates Nos. set



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 forth in Exhibit 1, which include approximately 180,000 documents and represent all of the Saudi

 Committee documents that Arab Bank has in its possession and produced in Linde after

 affirmatively obtaining the Saudi Committee’s consent.

 DOCUMENTS CONCERNING PALESTINE LIBERATION ORGANIZATION (“PLO”)/
 PALESTINIAN AUTHRORITY (“PA”) / FATAH / AL AQSA MARTYRS BRIGADE
 (“AAMB”)

 REQUEST NO 15:

        All Documents concerning accounts maintained at Arab Bank by the following
 Fatah/AAMB leaders, operatives and agents:

        a.      Yasser Arafat;
        b.      Marwan Barghuti;
        c.      Muhammad Dahlan
        d.      Nayef Abu-Sharakh; and
        e.      Bilal Abu Amsha.

 RESPONSE TO REQUEST NO 15:

        Arab Bank objects to Request No. 15 on the grounds that it seeks information that is overly

 broad, not relevant, and disproportionate to the claims and defenses in these cases. In particular,

 of the 5 alleged “Fatah/AAMB leaders, operatives and agents” for whom Plaintiffs are requesting

 information, only 2 are referenced in the Complaints and none are alleged to have committed,

 planned, or authorized any of the Incidents. See Initial Objections, No. 1. Arab Bank further

 objects to Request No. 15 to the extent it seeks production of banking records located in foreign

 jurisdictions that are subject to bank confidentiality laws prohibiting banks from disclosing such

 records under threat of civil and criminal penalties absent customer consent or regulatory approval.

 See Initial Objections, No. 2. Subject to and without waiving the foregoing, Arab Bank will

 continue to conduct a reasonable search for, and produce on a rolling basis, non-privileged

 documents responsive to this Request that relate to the individuals identified in the Complaints.




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 REQUEST NO 16:

        All Documents concerning accounts at Arab Bank or funds transfers by Arab Bank
 involving the following Fatah/AAMB leaders and operatives:

       a.     Faruq Qadumi;
       b.     Mahmud Abu Hamam;
       c.     Maslama Thabet;
       d.     Khaled Abu Hilal;
       e.     Osama Khaled al-Silawi;
       f.     Naser Badawi;
       g.     Naser Naji Abu Hamid;
       h.     Fadi Qafisha;
       i.     Sirhan;
       j.     Zakaria Zbeidi;
       k.     Ahmad Yusuf Maghrabi;
       l.     Mahmud Ahmad Muhammad Shawer;
       m.     Marwan Kaid Mutliq abd al-Karim Zalum;
       n.     Family of Muhammad Mashhur Muhammad Hashaikeh;
       o.     Qahira Said Ali Sa’adi;
       p.     Sanaa’ Shahada;
       q.     Abd al-Karim Rateb Yunes Aweis;
       r.     Naser Jamal Musa Shawish;
       s.     Mohammed Qasem Ahmed Aradah;
       t.     Mohammed Said Ali Kablawi;
       u.     Khad’er Amin Mohammed Dabiyah;
       v.     Atef Abayat;
       w.     Ahmad Taleb Mustafa Barghuthi al-Faransi;
       x.     Majed Qini;
       y.     Munzar Mahmoud Khalil Noor;
       z.     Tawfiq Tirawi;
       aa.    Amjad Mahmud Ibrahim Fakhuri;
       bb.    Muhammad Hijazi;
       cc.    Alaa Tafesh;
       dd.    Haytham Abu al-Naja;
       ee.    Zaher Abu Harbid;
       ff.    Nasser al-Din Abu Harbid;
       gg.    Ahmad Hilis;
       hh.    Hassan ‘Atiya Hassan Madhoun;
       ii.    Na’el al-Sharif;
       jj.    Jamil Khalaf Mustafa Hamid;
       kk.    Riyad Dakhlallah al-Amur;
       ll.    Ibrahim Musa Salem Abayat;
       mm.    Muhssien Attah;
       nn.    Alaa ‘Abd al-Kareen;
       oo.    Muhammad Hamash;
       pp.    Zaynab Ali Abu Salem a/k/a Zeinab Ali Issa Abu Salem;


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        qq.     Mohammed Muhtasib; and
        rr.     Amnah Reehan.

 RESPONSE TO REQUEST NO 16:

        Arab Bank objects to Request No. 16 on the grounds that it seeks information that is overly

 broad, not relevant, and disproportionate to the claims and defenses in these cases. In particular,

 of the 44 alleged Fatah/AAMB leaders and operatives for whom Plaintiffs are requesting

 information, only 3 are referenced in the Complaints and are alleged to have committed, planned,

 or authorized any of the Incidents. See Initial Objections, No. 1. Arab Bank further objects to

 Request No. 16 on the grounds that it is vague, ambiguous, unduly burdensome, and/or seeks

 information outside of Arab Bank’s knowledge because it calls for all documents concerning: (1)

 Arab Bank accounts “involving” the listed individuals without identifying the persons who

 allegedly opened or maintained the accounts; and (2) “funds transfers by Arab Bank involving”

 the listed individuals without identifying who initiated and/or received the funds transfers. Arab

 Bank further objects to Request No. 16 to the extent it seeks production of banking records located

 in foreign jurisdictions that are subject to bank confidentiality laws prohibiting banks from

 disclosing such records under threat of civil and criminal penalties absent customer consent or

 regulatory approval. See Initial Objections, No. 2. Subject to and without waiving the foregoing,

 Arab Bank will conduct a reasonable search for, and produce on a rolling basis, non-privileged

 documents responsive to this Request that relate to accounts opened or maintained at Arab Bank,

 or funds transfers initiated and/or received, by the individuals identified in the Complaints.

 REQUEST NO 17:

      All Documents concerning accounts maintained at Arab Bank by the following
 PLO/PA/Fatah social institutions or transfers involving those institutions:

        a.      Palestine National Fund
        b.      Fatah Central Committee;
        c.      Fatah Youth Movement;


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        d.      General Union of Palestinian Students;
        e.      Civil Society Organizations Commission;
        f.      Fatah Revolutionary Council;
        g.      Fatah Mobilization and Organization Commission;
        h.      Martyr Institute;
        i.      Development Charitable Society;
        j.      Give Gaza Society;
        k.      Vanguards of the Popular Army a/k/a Tala’i al-Jaysh al-Sha’bi;
        l.      Al-Qawasmeh Neighbourhood Charity a/k/a Charitable Al-Qawasmeh
                Neighborhood Society;
        m.      Birzeit University Fatah Youth Movement;
        n.      Palestinian Authority Ministry of Detainees and ex-Detainees;
        o.      Palestinian Authority Economic Affairs Department; and
        p.      Palestinian Authority Institute for the Care of Martyrs’ Families and the Injured.

 RESPONSE TO REQUEST NO 17:

        Arab Bank objects to Request No. 17 on the grounds that it seeks information that is overly

 broad, not relevant, and disproportionate to the claims and defenses in these cases. In particular,

 of the 16 alleged PLO/PA/Fatah social institutions for which Plaintiffs are requesting information,

 none are referenced in the Complaints, much less alleged to have committed, planned, or

 authorized any of the Incidents. See Initial Objections, No. 1. Arab Bank also objects to Request

 No. 17 on the grounds that it is vague, ambiguous, unduly burdensome, and/or seeks information

 outside of Arab Bank’s knowledge because it calls for all documents concerning “transfers

 involving” the listed organizations without identifying who initiated and/or received the transfers.

 Arab Bank further objects to Request No. 17 to the extent it seeks production of banking records

 located in foreign jurisdictions that are subject to bank confidentiality laws prohibiting banks from

 disclosing such records under threat of civil and criminal penalties absent customer consent or

 regulatory approval. See Initial Objections, No. 2.

 REQUEST NO 18:

        All Documents concerning transactions processed by Arab Bank on behalf of the Saudi
 Committee for the benefit of the families of the following Fatah/AAMB Suicide Bombers,
 including, but not limited to, transaction records, account statements, account opening
 documentation, communications concerning the transactions and/or recipients, receipts issued by


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 Arab Bank to account holders and/or payees, and death certificates, photographic identification
 and/or certificates of martyrdom for the individuals that qualified the account holder or payee to
 receive payment:

        1.      Ahmad Abd al-Rahman Subh Daraghima (see, e.g., ABPLC030781);
        2.      Family of Muhammad Ahmad Abd al-Rahman Daraghima Shu’ani;
        3.      Abd al-Qader Abd al-Jaber Abd al-Qader Khaled (see, e.g., ABPLC030693);
        4.      Family of Abd al-Jaber Abd al-Qader Abd al-Jaber Khaled;
        5.      Wasfiya Mabruk Saleh Idris (see, e.g., ABPLC030751);
        6.      Family of Wafa’ Ali Khalil Idris;
        7.      Maysun Misbah Saleh Awda (see, e.g., ABPLC030887);
        8.      Family of Yaser Sa’id Musa Awda;
        9.      Abd al-Fatah Hafez Sa’id Yasin (see, e.g., ABPLC030874);
        10.     Family of Umar Abd al-Fatah Hafez Yasin;
        11.     Jihad Ibrahim al-Titi (see, e.g., ABPLC016754);
        12.     Family of Jihad Ibrahim al-Titi;
        13.     Muhammad Mahmud Ahmad Hasuna (see, e.g., ABPLC030601);
        14.     Family of Ibrahim Muhammad Mahmud Hasuna;
        15.     Ibrahim Sa’id Ibrahim Ramadan (see, e.g., ABPLC030850);
        16.     Family of Sa’id Ibrahim Ramadan;
        17.     Wafaa’ Ibrahim Abd al-Hafez Wahadna (see, e.g., ABPLC024009);
        18.     Family of Ibrahim Muhammad al-Wahadna;
        19.     Taleb Salem Ali al-Dar’awi (see, e.g., ABPLC023932);
        20.     Family of Salem Taleb Salem al-Dar’awi;
        21.     Sawsan Samih Fayez Hamad (see, e.g., ABPLC026346); and
        22.     Family of Nazir Muhammad Mahmud Hamad.

 RESPONSE TO REQUEST NO 18:

        Arab Bank objects to Request No. 18 on the grounds that it seeks information that is overly

 broad, not relevant, and disproportionate to the claims and defenses in these cases. In particular,

 of the 22 alleged “Fatah/AAMB Suicide Bombers” for whom Plaintiffs are requesting information,

 only 6 are referenced in the Complaints and none are alleged to have committed, planned, or

 authorized any of the Incidents. See Initial Objections, No. 1. Additionally, the Request calls for

 all banking records for the intended beneficiaries of these transactions, but the Complaints do not

 allege such records are related to any of the Incidents. Arab Bank further objects to Request No.

 18 to the extent it seeks production of banking records located in foreign jurisdictions that are

 subject to bank confidentiality laws prohibiting banks from disclosing such records under threat



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 of civil and criminal penalties absent customer consent or regulatory approval.         See Initial

 Objections, No. 2. Subject to and without waiving the foregoing, Arab Bank is producing the

 Linde Bates Nos. set forth in Exhibit 1, which include approximately 180,000 documents and

 represent all of the Saudi Committee documents that Arab Bank has in its possession and produced

 in Linde after affirmatively obtaining the Saudi Committee’s consent.

 REQUEST NO 19:

         All Documents concerning transactions processed by Arab Bank on behalf of the Saudi
 Committee for the benefit of families of the following Fatah/AAMB “Martyrs,” including, but not
 limited to, transaction records, account statements, account opening documentation,
 communications concerning the transactions and/or recipients, receipts issued by Arab Bank to
 account holders and/or payees, and death certificates, photographic identification and/or
 certificates of martyrdom for the individuals that qualified the account holder or payee to receive
 payment:

        1.      Family of the martyr Qusai Faysal Tawfiq Zahran (see, e.g., ABPLC011683);
        2.      ‘Aisha Nimer Ahmad Astiti (see, e.g., ABPLC030949);
        3.      Family of Zuheir Muhammad Asad Astiti;
        4.      Wafaa Yusuf Dawud Amer (see, e.g., ABPLC030950);
        5.      Family of Ziyad Ibrahim Ayd Amer;
        6.      Muhammad Jum’a Muhammad Abu Bakra (see, e.g., ABPLC026406);
        7.      Family of Abd al-Rahman Muhammad Abu Bakra;
        8.      Imama Amin Suliman Istiti (see, e.g., ABPLC026305);
        9.      Family of Ikrima Muhammad Khader Istiti;
        10.     Rania Mahmud Abd al-Mun’am al-Julani (see, e.g., ABPLC025964);
        11.     Family of Ali Ibrahim Abd al-Rahman al-Julani;
        12.     Muhammad Hafez Qasem Sawafita (see, e.g., ABPLC023918);
        13.     Family of Amin Muhammad Hafez Sawafita;
        14.     Izat Muhammad Sa’id Zakarna (see, e.g., ABPLC030700);
        15.     Family of Dargham Izat Muhammad Zakarna;
        16.     Muhammad Hasan Dar Qadi (see, e.g., ABPLC023927);
        17.     Family of Hasan Muhammad Hasan al-Qadi;
        18.     Abd al-Qader Abd al-Razeq (see, e.g., ABPLC010761);
        19.     Family of Jamal Abd al-Qader Abd al-Razeq;
        20.     Mirfat Amin Muhammad Nawawira (see, e.g., ABPLC030658);
        21.     Family of Jamal Ubayd Allah Nawawira Abayat;
        22.     Mahmud Othman Al-Alul (see, e.g., ABPLC011608);
        23.     Family of Jihad Mahmud Othman al-Alul;
        24.     Jamal Taya Shahada Qabala (see, e.g., ABPLC030807);
        25.     Family of Hukm Jamal Taya Qabala;
        26.     Hamdi Saleh Muhammad Awd (see, e.g., ABPLC026195);
        27.     Family of Imad Hamdi Saleh Awd;


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        28.     Umar Ali Hamad Jaser (see, e.g., ABPLC026205);
        29.     Family of Mahmud Umar Ali Jaser;
        30.     Ata Fares Ataya Jaber (see, e.g., ABPLC026233);
        31.     Family of Talat Ata Fares Jaber;
        32.     Amal Hussein Ali Aghbariya (see, e.g., ABPLC030982);
        33.     Family of Nidal Muhammad Tawfiq Aghbariya;
        34.     Muhammad Tawfiq Mustafa Aghbariya (see, e.g., ABPLC030952);
        35.     Amal Rasmi Abd Al-Khaleq Azam (see, e.g., ABPLC023845);
        36.     Family of Ramadan Ismail Muhammad Azam;
        37.     Ahed Hasan Khalil Anbas (see, e.g., ABPLC026317);
        38.     Family of Mustafa Ahed Hasan Anbas;
        39.     Ali Muhammad Mustafa al-Sus (see, e.g., ABPLC030633);
        40.     Family of Muhammad Ali Muhammad al-Sus;
        41.     Ramadan Muhammad Ramadan al-Kafarna (see, e.g., ABPLC026410);
        42.     Family of Muhammad Ramadan Muhammad al-Kafarna;
        43.     Juma Abd al-Rahim Muhammad Badawi (see, e.g., ABPLC026349);
        44.     Family of Yaser Juma Abd al-Rahim Badawi;
        45.     Yasin Darwish al-Madhun (see, e.g., ABPLC010629);
        46.     Family of Muhammad Yasin al-Madhun;
        47.     Ibrahim Khalaf Juma Bajali (see, e.g., ABPLC030675);
        48.     Family of Ra’fat Ibrahim Khalaf Bajali;
        49.     Muna Ayesh Abd Abayat (see, e.g., ABPLC190144);
        50.     Family of Husein Muhammad Salem Abayat;
        51.     Linda Ahmad Muhammad Shibani (see, e.g., ABPLC030682); and
        52.     Family of Ra’ed Muhammad Sa’id al-Karmi.

 RESPONSE TO REQUEST NO 19:

        Arab Bank objects to Request No. 19 on the grounds that it seeks information that is overly

 broad, not relevant, and disproportionate to the claims and defenses in these cases. In particular,

 of the 52 alleged “Fatah/AAMB Martyrs” for whom Plaintiffs are requesting information, only 17

 are referenced in the Complaints and none are alleged to have committed, planned, or authorized

 any of the Incidents. See Initial Objections, No. 1. Additionally, the Request calls for all banking

 records for the intended beneficiaries of these transactions, but the Complaints do not allege such

 records are related to any of the Incidents. Arab Bank further objects to Request No. 19 to the

 extent it seeks production of banking records located in foreign jurisdictions that are subject to

 bank confidentiality laws prohibiting banks from disclosing such records under threat of civil and

 criminal penalties absent customer consent or regulatory approval. See Initial Objections, No. 2.


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 Subject to and without waiving the foregoing, Arab Bank is producing the Linde Bates Nos. set

 forth in Exhibit 1, which include approximately 180,000 documents and represent all of the Saudi

 Committee documents that Arab Bank has in its possession and produced in Linde after

 affirmatively obtaining the Saudi Committee’s consent.

 REQUEST NO 20:

         All Documents concerning transactions processed by Arab Bank on behalf of the Saudi
 Committee for the benefit of the families of the following Fatah/AAMB terrorists who were
 incarcerated in Israeli prisons, including, but not limited to, transaction records, account
 statements, account opening documentation, communications concerning the transactions and/or
 recipients, receipts issued by Arab Bank to account holders and/or payees, and death certificates,
 photographic identification and/or proof of incarceration for the individuals that qualified the
 account holder or payee to receive payment:

        1.      Bahiya Hamad Nimer Jabara (see, e.g., ABPLC012091);
        2.      Samira Suliman al-Barghuthi (see, e.g., ABPLC01225);
        3.      Ahmad Ibrahim Musleh al-Satri (see, e.g., ABPLC011053); and
        4.      Nur Nihad Khalil al-Kayal (see, e.g., ABPLC011058).

 RESPONSE TO REQUEST NO 20:

        Arab Bank objects to Request No. 20 on the grounds that it seeks information that is overly

 broad, not relevant, and disproportionate to the claims and defenses in these cases. In particular,

 of the 4 alleged “Fatah/AAMB terrorists” for whom Plaintiffs are requesting information, none are

 referenced in the Complaints, much less alleged to have committed, planned, or authorized any of

 the Incidents. See Initial Objections, No. 1. Additionally, the Request calls for all banking records

 for the intended beneficiaries of these transactions, but the Complaints do not allege such records

 are related to any of the Incidents. Arab Bank further objects to Request No. 20 to the extent it

 seeks production of banking records located in foreign jurisdictions that are subject to bank

 confidentiality laws prohibiting banks from disclosing such records under threat of civil and

 criminal penalties absent customer consent or regulatory approval. See Initial Objections, No. 2.

 Subject to and without waiving the foregoing, Arab Bank is producing the Linde Bates Nos. set



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 forth in Exhibit 1, which include approximately 180,000 documents and represent all of the Saudi

 Committee documents that Arab Bank has in its possession and produced in Linde after

 affirmatively obtaining the Saudi Committee’s consent.

 REQUEST NO 21:

         All Documents concerning transactions processed by Arab Bank on behalf of the Saudi
 Committee for the benefit of the following Fatah/AAMB operatives, including, but not limited to,
 transaction records, account statements, account opening documentation, communications
 concerning the transactions and/or recipients, receipts issued by Arab Bank to the Fatah/AAMB
 operatives, and death certificates, photographic identification, certificates of martyrdom and/or
 proof of incarceration for the individuals that qualified Fatah/AAMB operatives to receive
 payment:

        1.      Qusai Faysal Tawfiq Zahran (see, e.g., ABPLC014784, ABPLC011683);
        2.      Rami Ismail Ali Alayan (see, e.g., ABPLC013740);
        3.      Jamal Abd Rabo Muhammad Abu al-Jadyan (see, e.g., ABPLC019353);
        4.      Ahmad Ata Yusuf Abu Saltah (see, e.g., ABPLC016657);
        5.      Jihad Isma’il Ashur al-Amaryn (see, e.g., ABPLC019421);
        6.      Sami Jawdat Barbakh (see, e.g., ABPLC013158);
        7.      Murad Suliman Zuhdi Marshud (see, e.g., ABPLC016908);
        8.      Tamer Rasem al-Rimawi (see, e.g., ABPLC016023); and
        9.      Ahmad Tawfiq Barbakh (see, e.g., ABPLC012930).

 RESPONSE TO REQUEST NO 21:

        Arab Bank objects to Request No. 21 on the grounds that it seeks information that is overly

 broad, not relevant, and disproportionate to the claims and defenses in these cases. In particular,

 of the 9 alleged “Fatah/AAMB operatives” for whom Plaintiffs are requesting information, only 7

 are referenced in the Complaints and only 1 is alleged to have committed, planned, or authorized

 any of the Incidents. See Initial Objections, No. 1. Additionally, the Request calls for all banking

 records for the intended beneficiaries of these transactions, but the Complaints do not allege such

 records are related to any of the Incidents. Arab Bank further objects to Request No. 21 to the

 extent it seeks production of banking records located in foreign jurisdictions that are subject to

 bank confidentiality laws prohibiting banks from disclosing such records under threat of civil and

 criminal penalties absent customer consent or regulatory approval. See Initial Objections, No. 2.


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 Subject to and without waiving the foregoing, Arab Bank is producing the Linde Bates Nos. set

 forth in Exhibit 1, which include approximately 180,000 documents and represent all of the Saudi

 Committee documents that Arab Bank has in its possession and produced in Linde after

 affirmatively obtaining the Saudi Committee’s consent.

 REQUEST NO 22:

         All Documents concerning transactions processed by Arab Bank on behalf of the Al Ansar
 Society for the families of “Martyrs” and prisoners, including, but not limited to, transaction
 records, receipts issued by Arab Bank to account holders and/or payees, and death certificates,
 photographic identification, certificates of martyrdom or proof of imprisonment for the individuals
 that qualified the account holder or payee to receive payment.

 RESPONSE TO REQUEST NO 22:

        Arab Bank objects to Request No. 22 on the grounds that it is overly broad, unduly

 burdensome, vague, and seeks the production of documents that are not relevant, outside of Arab

 Bank’s knowledge, and/or disproportionate to the claims and defenses in these cases. In particular,

 the Request calls for all documents concerning “transactions processed by Arab Bank on behalf of

 the Al Ansar Society for the benefit of the families of ‘Martyrs’ and prisoners” without identifying:

 (1) the persons who allegedly transferred the funds on behalf of the Al Ansar Society; (2) the

 names of the alleged “Martyrs” and “prisoners”; or (3) the names of their family members.

 Additionally, the Request calls for all banking records for the purported recipients of these

 transactions, but the Complaints do not allege such records are related to any of the Incidents.

 Moreover, the Complaints do not allege that the Al Ansar Society committed, planned, or

 authorized any of the Incidents. See Initial Objections, No. 1. Arab Bank further objects to

 Request No. 22 to the extent it seeks production of banking records located in foreign jurisdictions

 that are subject to bank confidentiality laws prohibiting banks from disclosing such records under

 threat of civil and criminal penalties absent customer consent or regulatory approval. See Initial

 Objections, No. 2. Subject to and without waiving the foregoing, Arab Bank will conduct a


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 reasonable search for, and produce on a rolling basis, non-privileged documents responsive to this

 Request that relate to individuals identified in the Complaints.

 REQUEST NO 23:

        All Documents concerning transactions processed by Arab Bank to or from the Palestinian
 Ministry of Social Welfare’s Institute for the Care of Martyrs’ Families and the Injured that
 concern “Martyrs” and prisoners.

 RESPONSE TO REQUEST NO 23:

        Arab Bank objects to Request No. 23 on the grounds that it is overly broad, unduly

 burdensome, and vague, and seeks the production of documents that are not relevant, outside of

 Arab Bank’s knowledge, and/or are disproportionate to the claims and defenses in this case. In

 particular, the Complaints do not reference the “Palestinian Ministry of Social Welfare’s Institute

 for the Care of Martyrs’ Families and the Injured,” much less allege that it committed, planned, or

 authorized any of the Incidents. See Initial Objections, No. 1. Additionally, the Request fails to

 identify: (1) the individuals who initiated and/or received the transfers; or (2) the alleged “Martyrs

 and prisoners” purported to be associated with the transactions. Arab Bank further objects to

 Request No. 23 to the extent it seeks production of banking records located in foreign jurisdictions

 that are subject to bank confidentiality laws prohibiting banks from disclosing such records under

 threat of civil and criminal penalties absent customer consent or regulatory approval. See Initial

 Objections, No. 2.

 REQUEST NO 24:

        All Documents concerning transactions processed by Arab Bank to or from the PLO.

 RESPONSE TO REQUEST NO 24:

        Arab Bank objects to Request No. 24 on the grounds that it is overly broad, unduly

 burdensome, and vague, and seeks the production of documents that are not relevant and/or are

 disproportionate to the claims and defenses in this case. In particular, the Request calls for all


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 banking records regarding PLO transactions, but the Complaints do not allege such records are

 related to any of the Incidents. Although the Complaints allege that a member of PLO was

 involved with one of the Incidents, they do not allege that the PLO committed, planned, or

 authorized any of the Incidents. See Initial Objections, No. 1. Arab Bank further objects to

 Request No. 24 to the extent it seeks production of banking records located in foreign jurisdictions

 that are subject to bank confidentiality laws prohibiting banks from disclosing such records under

 threat of civil and criminal penalties absent customer consent or regulatory approval. See Initial

 Objections, No. 2. Subject to and without waiving the foregoing, Arab Bank will conduct a

 reasonable search for, and produce on a rolling basis, non-privileged documents responsive to this

 Request that relate to transactions to or from accounts in the name of the PLO.

 REQUEST NO 25:

        All Documents concerning transactions processed by Arab Bank to or from the Palestine
 National Fund.

 RESPONSE TO REQUEST NO 25:

        Arab Bank objects to Request No. 25 on the grounds that it is overly broad, unduly

 burdensome, and vague, and seeks the production of documents that are not relevant, outside of

 Arab Bank’s knowledge, and/or are disproportionate to the claims and defenses in this case. In

 particular, the Complaints do not reference the “Palestine National Fund,” much less allege that it

 committed, planned, or authorized any of the Incidents.            See Initial Objections, No. 1.

 Additionally, the Request calls for all documents concerning transactions “to or from the Palestine

 National Fund” without identifying the individuals who initiated and/or received the transactions.

 Arab Bank further objects to Request No. 25 to the extent it seeks production of banking records

 located in foreign jurisdictions that are subject to bank confidentiality laws prohibiting banks from




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 disclosing such records under threat of civil and criminal penalties absent customer consent or

 regulatory approval. See Initial Objections, No. 2.

 REQUEST NO 26:

         All Documents concerning accounts maintained at Arab Bank in the name of or for the
 benefit of the following organizations, including but not limited to documents identifying account
 numbers of such accounts, individuals or entities that opened such accounts, and the deposit of
 funds into and disbursement of funds out of such accounts; the source of funds deposited into such
 accounts and the recipients of funds disbursed from such accounts; the identity of Arab Bank
 employees with knowledge of such accounts; and all correspondence between Arab Bank and such
 organization:

        a.      Palestinian Islamic Jihad;
        b.      Popular Front for the Liberation of Palestine;
        c.      Al Aqsa Martyrs Brigade;
        d.      Fatah/Tanzim;
        e.      Force 17;
        f.      Fatah Hawks;
        g.      Ahmad Abu al-Rish Brigades; and
        h.      Palestinian Authority Institute for the Care of Martyrs’ Families and the Injured.

 RESPONSE TO REQUEST NO 26:

        Arab Bank objects to Request No. 26 on the grounds that it seeks information that is overly

 broad, not relevant, and disproportionate to the claims and defenses in these cases. In particular,

 of the 8 organizations for which Plaintiffs are requesting information, only 6 are referenced in the

 Complaints and only 2 are alleged to have committed, planned, or authorized any of the Incidents.

 See Initial Objections, No. 1. Arab Bank further objects to Request No. 26 on the grounds that it

 is vague, ambiguous, unduly burdensome, and/or seeks information outside of Arab Bank’s

 knowledge because it calls for all documents concerning accounts maintained at Arab Bank “for

 the benefit of” the listed organizations without identifying the persons who allegedly opened or

 maintained the accounts. Arab Bank further objects to Request No. 26 to the extent it seeks

 production of banking records located in foreign jurisdictions that are subject to bank

 confidentiality laws prohibiting banks from disclosing such records under threat of civil and



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 criminal penalties absent customer consent or regulatory approval. See Initial Objections, No. 2.

 Subject to and without waiving the foregoing, Arab Bank will conduct a reasonable search for, and

 produce on a rolling basis, non-privileged documents responsive to this Request that relate to

 accounts opened or maintained at Arab Bank by the organizations identified in the Complaints.

 REQUEST NO 27:

          All Documents concerning the announcement by Arab Bank on or about October 7, 2000,
 that it would make donations to Palestinians injured in the Second Intifada.

 RESPONSE TO REQUEST NO 27:

        Arab Bank objects to Request No. 27 on the grounds that it seeks the production of

 documents that are not relevant to the claims and defenses in these cases given that the Complaints

 do not allege any specific connection between the alleged “donations to Palestinians injured in the

 Second Intifada” and any of the Incidents. See Initial Objections, No. 1. Arab Bank further objects

 to Request No. 27 on the grounds that it is vague, ambiguous, unduly burdensome, and/or seeks

 information outside of Arab Bank’s knowledge because it fails to identify the “Palestinians Injured

 during the Second Intifada” who were the intended recipients of the alleged donations. Arab Bank

 further objects to Request No. 27 to the extent it seeks production of banking records located in

 foreign jurisdictions that are subject to bank confidentiality laws prohibiting banks from disclosing

 such records under threat of civil and criminal penalties absent customer consent or regulatory

 approval. See Initial Objections, No. 2. Subject to and without waiving the foregoing, Arab Bank

 will conduct a reasonable search for, and produce on a rolling basis, non-privileged documents

 responsive to this Request.




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 REQUEST NO 28:

        All Documents concerning any pledges or payments by, or on behalf of, Arab Bank, or its
 employees, to the Fund for Support of the Persistence of the Palestinian People, including a pledge
 and payment by Arab Bank of approximately $2,000,000 to that entity.

 RESPONSE TO REQUEST NO 28:

        Arab Bank objects to the characterization of the alleged “pledge and payment by Arab

 Bank of approximately $2,000,000” to the “Fund for Support of the Persistence of the Palestinian

 People” set forth in Request No. 28. Arab Bank also objects to Request No. 28 on the grounds

 that it calls for documents that are not relevant to the claims and defenses because the Complaints

 do not allege any specific connection between Arab Bank’s purported pledge or payment and any

 of the Incidents. Arab Bank further objects to Request No. 28 on the grounds that it is vague,

 ambiguous, unduly burdensome, and/or seeks information outside of Arab Bank’s knowledge

 because it fails to: (1) identify the “employees” who allegedly made “pledges or payments”; or (2)

 limit the request to conduct within the scope of their employment. Arab Bank further objects to

 Request No. 28 to the extent it seeks production of banking records located in foreign jurisdictions

 that are subject to bank confidentiality laws prohibiting banks from disclosing such records under

 threat of civil and criminal penalties absent customer consent or regulatory approval. See Initial

 Objections, No. 2. Subject to and without waiving the foregoing, Arab Bank will conduct a

 reasonable search for, and produce on a rolling basis, non-privileged documents responsive to this

 Request that are alleged to specifically relate to the Incidents.

 REQUEST NO 29:

        Documents sufficient to identity any Arab Bank employees with knowledge of any pledge
 or payment referred to in Request No. 28.




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 RESPONSE TO REQUEST NO 29:

         Arab Bank objects to Request No. 29 on the grounds that it is repetitive of Request No. 28.

 Arab Bank thus incorporates herein all objections stated in response to Request No. 28. Subject

 to and without waiving the foregoing, Arab Bank will conduct a reasonable search for, and produce

 on a rolling basis, non-privileged documents responsive to this Request that are alleged to

 specifically relate to the Incidents.

 REQUEST NO 30:

         All Documents concerning accounts maintained at Arab Bank in the name of or for the
 benefit of the Saudi Committee, including but not limited to documents identifying account
 numbers of such accounts, individuals or entities that opened such accounts, and the deposit of
 funds into and disbursement of funds out of such accounts; the source of funds deposited into such
 accounts and the recipients of funds disbursed from such accounts; all correspondence between
 Arab Bank and the Saudi Committee; all transactions initiated with Arab Bank by Arab National
 Bank or the Islamic Development Bank or National Commercial Bank on behalf of the Saudi
 Committee; and the identity of Arab Bank employees with knowledge of such accounts and
 transactions.

 RESPONSE TO REQUEST NO 30:

         Arab Bank objects to Request No. 30 on the grounds that it is overly broad, unduly

 burdensome, vague, and seeks the production of documents that are not relevant, outside of Arab

 Bank’s knowledge, and/or are disproportionate to the claims and defenses in these cases. In

 particular, the Request calls for all banking records concerning accounts “in the name of or for the

 benefit of” the Saudi Committee, regardless of whether that account activity bears any relation to

 the Incidents. Arab Bank further objects to Request No. 30 to the extent it seeks production of

 banking records located in foreign jurisdictions that are subject to bank confidentiality laws

 prohibiting banks from disclosing such records under threat of civil and criminal penalties absent

 customer consent or regulatory approval. See Initial Objections, No. 2. Subject to and without

 waiving the foregoing, Arab Bank is producing the Linde Bates Nos. set forth in Exhibit 1, which

 include approximately 180,000 documents and represent all of the Saudi Committee documents


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 that Arab Bank has in its possession and produced in Linde after affirmatively obtaining the Saudi

 Committee’s consent.

 REQUEST NO 31:

         All Documents concerning efforts by Arab Bank to aid, implement or administer programs
 of the Saudi Committee designed to provide payments to the families of individuals, including
 Palestinians in Israeli custody, Martyrs and Suicide Bombers, killed or injured during the Second
 Intifada and the identity of Arab Bank employees with knowledge of such efforts.

 RESPONSE TO REQUEST NO 31:

        Arab Bank objects to the characterization of the alleged “efforts by Arab Bank” related to

 the purported Saudi Committee programs described in the Request. Arab Bank also objects to

 Request No. 31 on the grounds that it is overly broad, unduly burdensome, vague, and seeks the

 production of documents that are not relevant, outside of Arab Bank’s knowledge, and/or are

 disproportionate to the claims and defenses in these cases. In particular, the Request fails to

 identify: (1) the individuals in Israeli custody who are described above as “Palestinians”; (2) the

 assailants, including the alleged “Martyrs” and “Suicide Bombers,” who were killed or injured

 during the “Second Intifada”; or (3) their “families” and thus persons to whom payments were

 allegedly made. In addition, Arab Bank objects to Request No. 31 on the grounds that the phrase

 “aid, implement or administer” is vague and ambiguous. Arab Bank also objects to Request No.

 31 because the Complaints do not allege that the Saudi Committee committed, planned, or

 authorized any of the Incidents. See Initial Objections, No. 1. Arab Bank further objects to

 Request No. 31 to the extent it seeks production of banking records located in foreign jurisdictions

 that are subject to bank confidentiality laws prohibiting banks from disclosing such records under

 threat of civil and criminal penalties absent customer consent or regulatory approval. See Initial

 Objections, No. 2. Subject to and without waiving the foregoing, Arab Bank is producing the

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 represent all of the Saudi Committee documents that Arab Bank has in its possession and produced

 in Linde after affirmatively obtaining the Saudi Committee’s consent.

 REQUEST NO 32:

         All Documents concerning efforts by Arab Bank to aid, implement or administer programs
 of the Al Ansar Society designed to provide payments to the families of individuals, Martyrs and
 Suicide Bombers, killed or injured during the Second Intifada and the identity of Arab Bank
 employees with knowledge of such efforts.

 RESPONSE TO REQUEST NO 32:

        Arab Bank objects to the characterization of the alleged “efforts by Arab Bank” related to

 the purported Al Ansar Society programs described in the Request. Arab Bank further objects to

 Request No. 32 on the grounds that it is overly broad, unduly burdensome, vague, and seeks the

 production of documents that are not relevant, outside of Arab Bank’s knowledge, and/or are

 disproportionate to the claims and defenses in these cases. In particular, the Request fails to

 identify: (1) the assailants, including the alleged “Martyrs” and “Suicide Bombers,” who were

 killed or injured during the “Second Intifada”; or (2) their “families” and thus persons to whom

 payments were allegedly made. Arab Bank also objects to Request No. 32 on the grounds that the

 phrase “aid, implement or administer” is vague and ambiguous. Additionally, Arab Bank objects

 to Request No. 32 because the Complaints do not allege that the Al Ansar Society committed,

 planned, or authorized any of the Incidents. See Initial Objections, No. 1. Arab Bank further

 objects to Request No. 32 to the extent it seeks production of banking records located in foreign

 jurisdictions that are subject to bank confidentiality laws prohibiting banks from disclosing such

 records under threat of civil and criminal penalties absent customer consent or regulatory approval.

 See Initial Objections, No. 2. Subject to and without waiving the foregoing, Arab Bank will

 conduct a reasonable search for, and produce on a rolling basis, non-privileged documents

 responsive to this Request that are alleged to specifically relate to the Incidents.



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 REQUEST NO 33:

         All Documents concerning efforts by Arab Bank to aid, implement or administer programs
 of the Institute for the Care of Martyrs’ Families and the Injured designed to provide payments to
 the families of Palestinian prisoners in Israeli custody and former prisoners or the families of
 Martyrs and Suicide Bombers, killed or injured prior to or during the Second Intifada and the
 identity of Arab Bank employees with knowledge of such efforts.

 RESPONSE TO REQUEST NO 33:

        Arab Bank objects to the characterization of the alleged “efforts by Arab Bank” related to

 the purported programs of the “Institute for the Care of Martyrs’ Families and the Injured”

 described in the Request. Arab Bank objects to Request No. 33 on the grounds that it is overly

 broad, unduly burdensome, vague, and seeks the production of documents that are not relevant,

 outside of Arab Bank’s knowledge, and/or are disproportionate to the claims and defenses in these

 cases. In particular, the Request fails to identify: (1) the individuals in Israeli custody who are

 described above as “Palestinian[s]”; (2) the assailants, including the alleged “Martyrs” and

 “Suicide Bombers,” who were killed or injured during the “Second Intifada”; or (3) their “families”

 and thus the persons to whom payments were allegedly made. In addition, Arab Bank objects to

 Request No. 33 on the grounds that the phrase “aid, implement or administer” is vague and

 ambiguous. Arab Bank also objects to Request No. 33 because it fails to identify any specific

 connection between those alleged assailants or individuals in custody and the actual Incidents.

 Arab Bank further objects to Request No. 33 because the “Institute for the Care of Martyrs’

 Families and the Injured” is not referenced in the Complaints, much less much less alleged to have

 committed, planned, or authorized any of the Incidents. See Initial Objections, No. 1. Arab Bank

 further objects to Request No. 33 to the extent it seeks production of banking records located in

 foreign jurisdictions that are subject to bank confidentiality laws prohibiting banks from disclosing

 such records under threat of civil and criminal penalties absent customer consent or regulatory

 approval. See Initial Objections, No. 2.


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 REQUEST NO 34:

         All Documents concerning listings or databases provided to or maintained by Arab Bank
 containing the names of Palestinians in Israeli custody, Martyrs, Suicide Bombers or other persons
 killed or injured during the Second Intifada, the dates and manner of death, payments made to the
 families of such persons and Arab Bank contacts with the Saudi Committee and/or HAMAS
 regarding such listings and databases, including, but not limited to, Documents which identify
 Arab Bank employees with knowledge of such listings and databases.

 RESPONSE TO REQUEST NO 34:

        Arab Bank objects to Request No. 34 on the grounds that it is overly broad, unduly

 burdensome, vague, and seeks the production of documents that are not relevant, outside of Arab

 Bank’s knowledge, and/or are disproportionate to the claims and defenses in these cases. In

 particular, the Request fails to identify: (1) the individuals in Israeli custody who are described

 above as “Palestinians”; (2) the assailants, including the alleged “Martyrs” and “Suicide

 Bombers,” who were killed or injured during the “Second Intifada”; (3) their “families” and thus

 the persons to whom payments were allegedly made; or (4) the individuals related to the Saudi

 Committee and/or HAMAS who are alleged to have had “contacts” with Arab Bank. Arab Bank

 also objects to Request No. 34 because it fails to identify any specific connection between those

 alleged assailants or individuals in custody and the Incidents. Arab Bank further objects to Request

 No. 34 to the extent it seeks production of banking records located in foreign jurisdictions that are

 subject to bank confidentiality laws prohibiting banks from disclosing such records under threat

 of civil and criminal penalties absent customer consent or regulatory approval.          See Initial

 Objections, No. 2. Subject to and without waiving the foregoing, Arab Bank will conduct a

 reasonable search for, and produce on a rolling basis, non-privileged documents responsive to this

 Request that are alleged to specifically relate to the Incidents.

 REQUEST NO 35:

        All Documents concerning Arab Bank’s receipt of certifications by the Palestinian
 Authority provided to families of Palestinians in Israeli custody, Martyrs, Suicide Bombers and/or


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 other persons killed or injured during the Second Intifada which make such families eligible to
 receive payments through Arab Bank and receipts issued to such families confirming such
 payments, including Documents which identify Arab Bank employees with knowledge of such
 certifications and receipts.

 RESPONSE TO REQUEST NO 35:

         Arab Bank objects to the characterization of Arab Bank’s alleged “receipt of certifications

 by the Palestinian Authority” as described in Request No. 35. Arab Bank objects to Request No.

 35 on the grounds that it is overly broad, unduly burdensome, vague, and seeks the production of

 documents that are not relevant, outside of Arab Bank’s knowledge, and/or are disproportionate to

 the claims and defenses in these cases. In particular, the Request fails to identify: (1) the

 individuals in Israeli custody who are described above as “Palestinians”; (2) the assailants,

 including the alleged “Martyrs” and “Suicide Bombers,” who were killed or injured during the

 “Second Intifada”; or (3) their “families” and thus the persons who were eligible for payments

 and/or to whom payments were allegedly made. Arab Bank also objects to Request No. 35 because

 it fails to identify any specific connection between those alleged assailants or individuals in

 custody and the actual Incidents. Arab Bank further objects to Request No. 35 to the extent it

 seeks production of banking records located in foreign jurisdictions that are subject to bank

 confidentiality laws prohibiting banks from disclosing such records under threat of civil and

 criminal penalties absent customer consent or regulatory approval. See Initial Objections, No. 2.

 Subject to and without waiving the foregoing, Arab Bank will conduct a reasonable search for, and

 produce on a rolling basis, non-privileged documents responsive to this Request that are alleged

 to specifically relate to the Incidents.

 REQUEST NO 36:

        Documents evidencing any document retention or destruction policy that you maintained
 from 1998 to the present.




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 RESPONSE TO REQUEST NO 36:

        Arab Bank objects to Request No. 36 as overly broad because it calls for all Arab Bank

 document retention and destruction policies without any geographic limitation as to which

 countries or territories those policies apply. Subject to and without waiving the foregoing, Arab

 Bank is producing the Linde Bates Nos. set forth in Exhibit 1. Arab Bank will continue to conduct

 a reasonable search for, and produce on a rolling basis, non-privileged documents responsive to

 this Request that are applicable to the countries in which the Incidents, and the transactions alleged

 to be related to them, occurred.

 REQUEST NO 37:

       Documents evidencing any anti-money laundering or anti-terrorism financing policies that
 you maintained during the Relevant Time Period.

 RESPONSE TO REQUEST NO 37:

        Arab Bank objects to Request No. 37 as overly broad because it calls for all Arab Bank

 anti-money laundering and anti-terrorism financing policies without any geographic limitation as

 to which countries or territories those policies apply. Subject to and without waiving the foregoing,

 Arab Bank is producing the Linde Bates Nos. set forth in Exhibit 1. Arab Bank will continue to

 conduct a reasonable search for, and produce on a rolling basis, non-privileged documents

 responsive to this Request that are applicable to the countries in which the Incidents, and the

 transactions alleged to be related to them, occurred.

 REQUEST NO 38:

       Documents evidencing any Know Your Customer policies that you maintained during the
 Relevant Time Period.

 RESPONSE TO REQUEST NO 38:

        Arab Bank objects to Request No. 38 as overly broad because it calls for all Arab Bank

 Know Your Customer policies without any geographic limitation as to which countries or


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 territories those policies apply. Subject to and without waiving the foregoing, Arab Bank is

 producing the Linde Bates Nos. set forth in Exhibit 1. Arab Bank will continue to conduct a

 reasonable search for, and produce on a rolling basis, non-privileged documents responsive to this

 Request that are applicable to the countries in which the Incidents, and the transactions alleged to

 be related to them, occurred.

 REQUEST NO 39:

       All Documents not otherwise requested above that concern the relationship between Arab
 Bank and the Saudi Committee.

 RESPONSE TO REQUEST NO 39:

        Arab Bank objects to Request No. 39 on the grounds that it is overly broad, unduly

 burdensome, vague, and seeks the production of documents that are not relevant, outside of Arab

 Bank’s knowledge, and/or are disproportionate to the claims and defenses in these cases. Arab

 Bank also objects to Request No. 39 on the grounds that it is repetitive of previous requests. Arab

 Bank further objects to Request No. 39 to the extent it seeks production of banking records located

 in foreign jurisdictions that are subject to bank confidentiality laws prohibiting banks from

 disclosing such records under threat of civil and criminal penalties absent customer consent or

 regulatory approval. See Initial Objections, No. 2. Subject to and without waiving the foregoing,

 Arab Bank is producing the Linde Bates Nos. set forth in Exhibit 1, which include approximately

 180,000 documents and represent all of the Saudi Committee documents that Arab Bank has in its

 possession and produced in Linde after affirmatively obtaining the Saudi Committee’s consent.




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 Dated: August 23, 2019

                                            By: __________________________
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                                                  Counsel for Arab Bank, plc




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                           Exhibit 1
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              Exhibit 1 to Defendant Arab Bank, plc’s Responses and Objections
               to Plaintiffs’ Second Request for the Production of Documents1

                Request Number(s)                            Linde Bates Range
   4, 5, 6, 7, 11, 12, 13, 14, 18, 19, 20, 21, 30,       ABPLC006810 - ABPLC006882
                        31, 39                           ABPLC010553 - ABPLC187051
                                                         ABPLC189043 - ABPLC191024
                                                         ABPLC196965 - ABPLC198089
                                                         ABPLC206382 - ABPLC206483
                                                         ABPLC206485 - ABPLC206506
                                                         ABPLC209427 - ABPLC211203
                                                         ABPLC198090 - ABPLC200300
                                                         ABPLC211204 - ABPLC211210
                                                         ABPLC211319 - ABPLC2114642
                         36                              ABPLC000633 - ABPLC000714
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          This chart identifies generally the Requests and the corresponding documents Arab Bank
 is producing. This is not, however, an exhaustive list in that certain documents may be responsive
 to more than one Request.
        2
          These Bates Nos. are generally responsive to the Requests calling for Saudi Committee
 documents. They may also contain records responsive to other Requests relating to banking
 records concerning particular individuals and entities.
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                                             ABPLC205387 - ABPLC205397
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                                             ABPLC003656 - ABPLC003690
                                             ABPLC003691 - ABPLC003754
                                             ABPLC003792 - ABPLC003808
                                             ABPLC003809 - ABPLC003818
                                             ABPLC003819 - ABPLC003832
                                             ABPLC003846 - ABPLC003862
                                             ABPLC003863 - ABPLC003894
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                                             ABPLC003908 - ABPLC003918
                                                   ABPLC003919
                                             ABPLC003957 - ABPLC004026
                                             ABPLC004027 - ABPLC004100
                                             ABPLC004101 - ABPLC004105
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                                             ABPLC004509 - ABPLC004745
                                             ABPLC004992 - ABPLC005229
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                                             ABPLC005950 - ABPLC005956
                                             ABPLC005957 - ABPLC005959
                                             ABPLC005961 - ABPLC005980
                                             ABPLC005995 - ABPLC006007
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                                             ABPLC006236 - ABPLC006249
                                             ABPLC006250 - ABPLC006281
                                             ABPLC006282 - ABPLC006286
                                                   ABPLC006287
                                                   ABPLC006288
                                             ABPLC006289 - ABPLC006304
                                                   ABPLC006305
                                             ABPLC006306 - ABPLC006347
                                                   ABPLC006348
                                             ABPLC006349 - ABPLC006356
                                                   ABPLC006357
                                             ABPLC006358 - ABPLC006371
                                             ABPLC006372 - ABPLC006402
                                             ABPLC006403 - ABPLC006431
                                                   ABPLC006432



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                                             ABPLC006433 - ABPLC006434
                                             ABPLC006435 - ABPLC006511
                                             ABPLC010409 - ABPLC010519
                                             ABPLC010520 - ABPLC010524
                                                   ABPLC010529
                                             ABPLC187056 - ABPLC187070
                                                   ABPLC187073
                                                   ABPLC187074
                                                   ABPLC187078
                                                   ABPLC187091
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                                                   ABPLC187099
                                                   ABPLC187100
                                                   ABPLC187103
                                             ABPLC187105 - ABPLC187106
                                                   ABPLC187137
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                                                   ABPLC187327
                                             ABPLC187447 - ABPLC187448
                                                   ABPLC187453
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                                                   ABPLC187468
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                                                   ABPLC187481
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                                                   ABPLC187833
                                                   ABPLC187834
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                                                   ABPLC187836
                                                   ABPLC188013
                                                   ABPLC188014
                                                   ABPLC188015
                                             ABPLC188016 - ABPLC188018
                                                   ABPLC188228
                                             ABPLC188612 - ABPLC188616
                                             ABPLC188684 - ABPLC188686
                                             ABPLC188711 - ABPLC188712
                                             ABPLC188713 - ABPLC188714
                                                   ABPLC188875



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                                                   ABPLC188876
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                                             ABPLC188890 - ABPLC188891
                                             ABPLC188892 - ABPLC188893
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                                                   ABPLC200309
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                                             ABPLC200313 - ABPLC200314
                                             ABPLC200315 - ABPLC200316
                                             ABPLC200317 - ABPLC200319
                                             ABPLC200320 - ABPLC200322
                                             ABPLC200323 - ABPLC200325
                                             ABPLC200326 - ABPLC200328
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                                             ABPLC200331 - ABPLC200332
                                             ABPLC200333 - ABPLC200337
                                             ABPLC200338 - ABPLC200340
                                             ABPLC200341 - ABPLC200342
                                             ABPLC200343 - ABPLC200344
                                                   ABPLC200345
                                             ABPLC200346 - ABPLC200347
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                                             ABPLC200350 - ABPLC200351
                                             ABPLC200352 - ABPLC200354
                                             ABPLC200355 - ABPLC200356
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                                                   ABPLC200360
                                                   ABPLC200361
                                             ABPLC200362 - ABPLC200366
                                                   ABPLC200367
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                                                   ABPLC200370
                                             ABPLC200371 - ABPLC200381
                                                   ABPLC200382
                                             ABPLC200383 - ABPLC200429
                                             ABPLC200430 - ABPLC200432
                                                   ABPLC200433



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                                             ABPLC200434 - ABPLC200436
                                                   ABPLC200437
                                             ABPLC200438 - ABPLC200439
                                             ABPLC200440 - ABPLC200441
                                                   ABPLC200442
                                             ABPLC200443 - ABPLC200446
                                                   ABPLC200447
                                             ABPLC200448 - ABPLC200453
                                             ABPLC200454 - ABPLC200465
                                             ABPLC200466 - ABPLC200476
                                             ABPLC200477 - ABPLC200482
                                             ABPLC200483 - ABPLC200499
                                                   ABPLC200500
                                             ABPLC200501 - ABPLC200502
                                             ABPLC200503 - ABPLC200504
                                             ABPLC200505 - ABPLC200509
                                             ABPLC200510 - ABPLC200511
                                             ABPLC200512 - ABPLC200522
                                             ABPLC200523 - ABPLC200606
                                             ABPLC200607 - ABPLC200609
                                                   ABPLC200610
                                             ABPLC200611 - ABPLC200612
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                                             ABPLC200615 - ABPLC200618
                                             ABPLC200619 - ABPLC200627
                                             ABPLC200628 - ABPLC200632
                                             ABPLC200633 - ABPLC200635
                                                   ABPLC200636
                                             ABPLC200637 - ABPLC200642
                                             ABPLC200643 - ABPLC200645
                                                   ABPLC200646
                                             ABPLC200647 - ABPLC200660
                                             ABPLC200661 - ABPLC200668
                                             ABPLC200669 - ABPLC200676
                                                   ABPLC200677
                                                   ABPLC200678
                                                   ABPLC200679
                                                   ABPLC200680
                                                   ABPLC200681
                                             ABPLC200682 - ABPLC200701
                                             ABPLC200702 - ABPLC200715
                                             ABPLC200716 - ABPLC200720
                                                   ABPLC200731
                                                   ABPLC200732
                                                   ABPLC200733



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                                                   ABPLC200740
                                                   ABPLC200741
                                                   ABPLC200748
                                                   ABPLC200749
                                                   ABPLC200756
                                                   ABPLC200757
                                             ABPLC200918 - ABPLC200963
                                             ABPLC201170 - ABPLC201184
                                             ABPLC201185 - ABPLC201194
                                             ABPLC201195 - ABPLC201211
                                             ABPLC201243 - ABPLC201311
                                             ABPLC201433 - ABPLC201464
                                             ABPLC201490 - ABPLC201505
                                             ABPLC201506 - ABPLC201516
                                             ABPLC201517 - ABPLC201528
                                             ABPLC201559 - ABPLC201591
                                             ABPLC202015 - ABPLC202050
                                             ABPLC202593 - ABPLC202630
                                             ABPLC202631 - ABPLC202642
                                             ABPLC202643 - ABPLC202645
                                                   ABPLC202646
                                             ABPLC202647 - ABPLC202651
                                                   ABPLC202690
                                             ABPLC202696 - ABPLC202697
                                             ABPLC202699 - ABPLC202700
                                                   ABPLC202701
                                                   ABPLC202726
                                                   ABPLC202727
                                                   ABPLC202728
                                             ABPLC202735 - ABPLC202738
                                             ABPLC202739 - ABPLC202740
                                             ABPLC202851 - ABPLC202876
                                             ABPLC203274 - ABPLC203303
                                             ABPLC203982 - ABPLC204009
                                             ABPLC204136 - ABPLC204137
                                             ABPLC204324 - ABPLC204333
                                             ABPLC204346 - ABPLC204347
                                             ABPLC204353 - ABPLC204548
                                             ABPLC204562 - ABPLC204569
                                             ABPLC204570 - ABPLC204574
                                             ABPLC204575 - ABPLC204578
                                             ABPLC204670 - ABPLC204671
                                             ABPLC204786 - ABPLC204793
                                             ABPLC204872 - ABPLC204882
                                             ABPLC204883 - ABPLC204969
                                             ABPLC204972 - ABPLC205007



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                                             ABPLC205008 - ABPLC205024
                                             ABPLC205467 - ABPLC205600
                                             ABPLC205716 - ABPLC205717
                                             ABPLC205781 - ABPLC205791
                                             ABPLC205798 - ABPLC206164
                                             ABPLC206209 - ABPLC206210
                                             ABPLC206213 - ABPLC206227
                                             ABPLC206228 - ABPLC206235
                                             ABPLC206236 - ABPLC206242
                                             ABPLC206251 - ABPLC206270
                                             ABPLC206272 - ABPLC206279
                                             ABPLC206280 - ABPLC206286
                                             ABPLC206287 - ABPLC206308
                                             ABPLC206309 - ABPLC206311
                                             ABPLC206312 - ABPLC206320
                                                   ABPLC206321
                                                   ABPLC206322
                                             ABPLC206331 - ABPLC206339
                                             ABPLC206340 - ABPLC206341
                                             ABPLC206342 - ABPLC206343
                                             ABPLC206344 - ABPLC206373
                                             ABPLC206374 - ABPLC206376
                                             ABPLC206377 - ABPLC206378
                                                   ABPLC206379
                                             ABPLC206380 - ABPLC206381
                   38                        ABPLC000633 - ABPLC000714
                                             ABPLC000715 - ABPLC000719
                                             ABPLC000720 - ABPLC000734
                                             ABPLC000802 - ABPLC000808
                                             ABPLC000810 - ABPLC000821
                                             ABPLC000837 - ABPLC000865
                                             ABPLC000879 - ABPLC000887
                                             ABPLC000990 - ABPLC000999
                                             ABPLC001001 - ABPLC001008
                                             ABPLC001010 - ABPLC001011
                                             ABPLC001079 - ABPLC001090
                                             ABPLC001092 - ABPLC001104
                                             ABPLC001201 - ABPLC001203
                                             ABPLC001206 - ABPLC001211
                                                   ABPLC001218
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                                                   ABPLC001224
                                                   ABPLC001225
                                             ABPLC001226 - ABPLC001236
                                             ABPLC001238 - ABPLC001252
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                                                   ABPLC001266
                                                   ABPLC001267
                                             ABPLC001268 - ABPLC001317
                                                   ABPLC001318
                                                   ABPLC001319
                                             ABPLC001321 - ABPLC001327
                                             ABPLC001328 - ABPLC001329
                                             ABPLC001330 - ABPLC001331
                                             ABPLC001332 - ABPLC001345
                                             ABPLC001346 - ABPLC001367
                                             ABPLC001370 - ABPLC001371
                                             ABPLC001372 - ABPLC001373
                                             ABPLC001380 - ABPLC001383
                                                   ABPLC001384
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                                             ABPLC001396 - ABPLC001398
                                             ABPLC001399 - ABPLC001402
                                                   ABPLC001403
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                                             ABPLC001407 - ABPLC001408
                                             ABPLC001409 - ABPLC001414
                                                   ABPLC001416
                                             ABPLC001417 - ABPLC001418
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                                             ABPLC001429 - ABPLC001433
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                                                   ABPLC001442
                                              BPLC001451 - ABPLC001452
                                                   ABPLC001456
                                             ABPLC001457 - ABPLC001483
                                             ABPLC001484 - ABPLC001485
                                             ABPLC001486 - ABPLC001488
                                             ABPLC001489 - ABPLC001490
                                             ABPLC001491 - ABPLC001502
                                             ABPLC001503 - ABPLC001505



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                                                   ABPLC001506
                                             ABPLC001507 - ABPLC001512
                                                   ABPLC001513
                                             ABPLC001514 - ABPLC001525
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                                                   ABPLC001529
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                                             ABPLC001532 - ABPLC001533
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                                             ABPLC001536 - ABPLC001542
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                                             ABPLC001556 - ABPLC001589
                                                   ABPLC001590
                                             ABPLC001594 - ABPLC001596
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                                             ABPLC001601 - ABPLC001602
                                             ABPLC001603 - ABPLC001604
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                                             ABPLC001607 - ABPLC001608
                                             ABPLC001609 - ABPLC001610
                                             ABPLC001611 - ABPLC001612
                                                   ABPLC001614
                                             ABPLC001615 - ABPLC001619
                                             ABPLC001630 - ABPLC001634
                                                   ABPLC001635
                                                   ABPLC001638
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                                             ABPLC001640 - ABPLC001650
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                                                   ABPLC001652
                                             ABPLC001653 - ABPLC001659
                                                   ABPLC001660
                                             ABPLC001661 - ABPLC001663
                                             ABPLC001665 - ABPLC001667
                                             ABPLC001668 - ABPLC001669
                                                   ABPLC001674
                                                   ABPLC001675
                                             ABPLC001676 - ABPLC001717
                                             ABPLC001718 - ABPLC001719



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                                                   ABPLC001769
                                                   ABPLC001770
                                                   ABPLC001771
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                                                   ABPLC001839
                                             ABPLC001842 - ABPLC001843
                                             ABPLC001845 - ABPLC001860
                                             ABPLC001880 - ABPLC001884
                                             ABPLC001885 - ABPLC001887
                                             ABPLC001890 - ABPLC001904
                                             ABPLC001977 - ABPLC001978
                                                   ABPLC001979
                                                   ABPLC001981
                                                   ABPLC001982
                                             ABPLC001984 - ABPLC002054
                                             ABPLC002079 - ABPLC002094
                                             ABPLC002142 - ABPLC002169
                                             ABPLC003656 - ABPLC003690
                                             ABPLC003691 - ABPLC003754
                                             ABPLC003785 - ABPLC003791
                                             ABPLC003792 - ABPLC003808
                                             ABPLC003809 - ABPLC003818
                                             ABPLC003819 - ABPLC003832
                                             ABPLC003846 - ABPLC003862
                                             ABPLC003863 - ABPLC003894
                                             ABPLC003900 - ABPLC003907
                                             ABPLC003908 - ABPLC003918
                                             ABPLC003920 - ABPLC003929
                                             ABPLC004027 - ABPLC004100
                                             ABPLC004284 - ABPLC004505
                                             ABPLC004509 - ABPLC004745
                                             ABPLC004992 - ABPLC005229
                                             ABPLC005358 - ABPLC005423
                                                   ABPLC005474
                                             ABPLC005475 - ABPLC005484
                                                   ABPLC005485
                                             ABPLC005486 - ABPLC005506
                                                   ABPLC005507
                                             ABPLC005508 - ABPLC005524
                                                   ABPLC005525
                                             ABPLC005526 - ABPLC005542
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                                             ABPLC005544 - ABPLC005562



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                                                   ABPLC005563
                                             ABPLC005564 - ABPLC005573
                                                   ABPLC005574
                                             ABPLC005777 - ABPLC005785
                                             ABPLC005875 - ABPLC005915
                                             ABPLC005917 - ABPLC005921
                                             ABPLC005923 - ABPLC005929
                                                   ABPLC005931
                                                   ABPLC005982
                                             ABPLC005983 - ABPLC005992
                                                   ABPLC005993
                                             ABPLC005995 - ABPLC006007
                                             ABPLC006102 - ABPLC006112
                                             ABPLC006113 - ABPLC006160
                                             ABPLC006161 - ABPLC006234
                                                   ABPLC006235
                                             ABPLC006236 - ABPLC006249
                                             ABPLC006250 - ABPLC006281
                                             ABPLC006282 - ABPLC006286
                                             ABPLC006289 - ABPLC006304
                                             ABPLC006306 - ABPLC006347
                                                   ABPLC006348
                                             ABPLC006349 - ABPLC006356
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                                             ABPLC006358 - ABPLC006371
                                             ABPLC006372 - ABPLC006402
                                             ABPLC006403 - ABPLC006431
                                                   ABPLC187091
                                                   ABPLC187206
                                             ABPLC187447 - ABPLC187448
                                                   ABPLC187834
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                                                   ABPLC187836
                                                   ABPLC188228
                                                   ABPLC200309
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                                             ABPLC200313 - ABPLC200314
                                             ABPLC200315 - ABPLC200316
                                             ABPLC200317 - ABPLC200319
                                             ABPLC200320 - ABPLC200322
                                             ABPLC200323 - ABPLC200325
                                             ABPLC200326 - ABPLC200328
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                                             ABPLC200333 - ABPLC200337
                                             ABPLC200338 - ABPLC200340
                                             ABPLC200341 - ABPLC200342
                                             ABPLC200343 - ABPLC200344
                                                   ABPLC200345
                                             ABPLC200346 - ABPLC200347
                                                   ABPLC200348
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                                             ABPLC200350 - ABPLC200351
                                             ABPLC200352 - ABPLC200354
                                             ABPLC200355 - ABPLC200356
                                                   ABPLC200357
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                                                   ABPLC200359
                                                   ABPLC200360
                                                   ABPLC200361
                                             ABPLC200362 - ABPLC200366
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                                             ABPLC200371 - ABPLC200381
                                                   ABPLC200382
                                             ABPLC200383 - ABPLC200429
                                             ABPLC200430 - ABPLC200432
                                                   ABPLC200433
                                             ABPLC200434 - ABPLC200436
                                                   ABPLC200437
                                             ABPLC200438 - ABPLC200439
                                             ABPLC200440 - ABPLC200441
                                                   ABPLC200442
                                             ABPLC200443 - ABPLC200446
                                                   ABPLC200447
                                             ABPLC200448 - ABPLC200453
                                             ABPLC200454 - ABPLC200465
                                             ABPLC200466 - ABPLC200476
                                             ABPLC200477 - ABPLC200482
                                             ABPLC200483 - ABPLC200499
                                                   ABPLC200500
                                             ABPLC200501 - ABPLC200502
                                             ABPLC200503 - ABPLC200504
                                             ABPLC200505 - ABPLC200509
                                             ABPLC200510 - ABPLC200511
                                             ABPLC200512 - ABPLC200522
                                             ABPLC200523 - ABPLC200606
                                             ABPLC200607 - ABPLC200609



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                                                   ABPLC200610
                                             ABPLC200611 - ABPLC200612
                                                   ABPLC200613
                                                   ABPLC200614
                                             ABPLC200615 - ABPLC200618
                                             ABPLC200619 - ABPLC200627
                                             ABPLC200628 - ABPLC200632
                                             ABPLC200633 - ABPLC200635
                                                   ABPLC200636
                                             ABPLC200637 - ABPLC200642
                                             ABPLC200643 - ABPLC200645
                                                   ABPLC200646
                                             ABPLC200647 - ABPLC200660
                                             ABPLC200661 - ABPLC200668
                                             ABPLC200669 - ABPLC200676
                                                   ABPLC200677
                                                   ABPLC200678
                                                   ABPLC200679
                                                   ABPLC200680
                                                   ABPLC200681
                                             ABPLC200682 - ABPLC200701
                                             ABPLC200702 - ABPLC200715
                                             ABPLC200716 - ABPLC200720
                                                   ABPLC200731
                                                   ABPLC200732
                                                   ABPLC200733
                                                   ABPLC200740
                                                   ABPLC200741
                                                   ABPLC200748
                                                   ABPLC200749
                                                   ABPLC200756
                                                   ABPLC200757
                                             ABPLC200841 - ABPLC200861
                                             ABPLC200862 - ABPLC200917
                                             ABPLC200918 - ABPLC200963
                                             ABPLC201170 - ABPLC201184
                                             ABPLC201185 - ABPLC201194
                                             ABPLC201195 - ABPLC201211
                                             ABPLC201433 - ABPLC201464
                                             ABPLC201490 - ABPLC201505
                                             ABPLC201506 - ABPLC201516
                                             ABPLC201517 - ABPLC201528
                                             ABPLC201559 - ABPLC201591
                                             ABPLC201815 - ABPLC201850
                                             ABPLC202015 - ABPLC202050
                                             ABPLC202593 - ABPLC202630



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                                             ABPLC202631 - ABPLC202642
                                             ABPLC202643 - ABPLC202645
                                                   ABPLC202646
                                             ABPLC202647 - ABPLC202651
                                             ABPLC202696 - ABPLC202697
                                             ABPLC202699 - ABPLC202700
                                             ABPLC202703 - ABPLC202725
                                                   ABPLC202726
                                                   ABPLC202727
                                             ABPLC203327 - ABPLC203343
                                             ABPLC203680 - ABPLC203767
                                             ABPLC204136 - ABPLC204137
                                             ABPLC204353 - ABPLC204548
                                             ABPLC204570 - ABPLC204574
                                             ABPLC205716 - ABPLC205717
                                             ABPLC205798 - ABPLC206164
                                             ABPLC206209 - ABPLC206210
                                             ABPLC206213 - ABPLC206227
                                             ABPLC206228 - ABPLC206235
                                             ABPLC206236 - ABPLC206242
                                             ABPLC206243 - ABPLC206245
                                             ABPLC206251 - ABPLC206270
                                             ABPLC206272 - ABPLC206279
                                             ABPLC206280 - ABPLC206286
                                             ABPLC206287 - ABPLC206308
                                             ABPLC206309 - ABPLC206311
                                             ABPLC206312 - ABPLC206320
                                                   ABPLC206321
                                                   ABPLC206322
                                             ABPLC206331 - ABPLC206339
                                             ABPLC206340 - ABPLC206341
                                             ABPLC206342 - ABPLC206343
                                             ABPLC206344 - ABPLC206373
                                             ABPLC206374 - ABPLC206376
                                                   ABPLC206379
                                             ABPLC206380 - ABPLC206381




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